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Fili in this information to identify your case:

 

United States Bankruptcy Court for the: ;_'EE_§§ 213 1 SHPEE.E:DH § §§ 53
Northern District of indiana l:l»z_i'i:_. i_i§_?i B.gnl¢;i-i_gpji;gi ij.i;ii_ii'?_. Ii~l,i~i
Case number (irknown): Chapter you are filing under:

L_.l Chapter11
Cl Chapter12 . . .
E] chapter13 a Check if this is an

‘ Chapter 7
l amended filing

 

Officia| Form 101
Voluntary Petition for individuals Filing for Bankruptcy 12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-caiied a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For examp|e, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separateiy, the form uses Debtor 1 and
Debtor 2 to distinguish between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in ali of the forms.

 

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m ldentify Yourseif

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: y g About Debtor 2 (Spouse Oniy in a Joint Case):
1. Your full name
Write the name that is on your _
government-issued picture EVIC _
identification (for exampie, F"st name F'rst name
your driver’s license or Michae|
passport). Middie name Midd|e name
Bring your picture
identification to your meeting Last name Lan name
with the trustee.
Suffix (Sr., Jr., |i, |l|) Sui“tix (Sr,, Jr., ii, lll)
2. Aii other names you
have used m the last 8 First name First name
years
include your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Midd|e name Midd|e name
Last name Last name
3. Oniy the last 4 digits of
your Social Security XXX _ XX _ _L _8- _1- -9- XXX _ XX " »-_ _ _ _
number or federal OR OR
individual Taxpayer 9
identification number XX _ XX ____ ____ ___ _ 9 XX _ XX ___ _______ __ ___
(iTiN)

 

 

Ochial Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 1

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Debior 1 Eric

l\/liChael Bell

Firsi Name Middle Nama

Last Name

Case number iiiknawn)

 

4. Any business names
and Empioyer
identification Numbers
(EiN) you have used in
the last 8 years

include trade names and
doing business as names

About Debtor 1:

El | have not used any business names or E|Ns.

About Debtor 2 (Spouse Only in a Joint Case):

a l have not used any business names or E|Ns.

 

Business name

Business name

 

Business name

E|N_"

T_

Business name

W_

El`r\i_

 

5. Where you live

1006 l_ake Avenue

if Debtor 2 lives at a different address:

 

 

 

 

 

Number Street Number Street
Fort Wayne |N 46805
City State ZlP Code City State ZlP Code
A|ien
County County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address

 

 

 

 

 

 

Number Slreet Number Street

P.O. Box P.O. Box

City State ZlP Code City State ZlP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

g Over the last 180 days before Hling this petition,
l have lived in this district longer than in any
other district

El l have another reason_ Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

m Over the last 180 days before iiling this petition,
l have lived in this district longer than in any
other district

l:.i | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Ofi”icia| Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 2

 

Debtor 1

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Eric

Firsl Name

l\/lichael

Middle Name

Bel|

Last Name

Case number rifknawn)

m Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for /ndividuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

m Chapter 7

Cl Chapter 11
n Chapter 12
l;l Chapter 13

 

How you will pay the fee

m i will pay the entire fee when l file my petition. P|ease check with the clerk’s office in your
local court for more details about how you may pay. Typica|ly, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address

Cl i need to pay the fee in installments. lf you choose this option, sign and attach the
Application for /ndividua/s to Pay The Filing Fee in lnstallments (Official Form 103A).

CI l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, Waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Ofticial Form 1035) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

9. Have you filed for q NO
bankruptcy within the
last 8 years? n Yes. District When Case number
MM/ DD/Y¥\’Y
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy q NO
cases pending or being
filed by a spouse who is cl Yes. Debtor Relationship to you
not filing this ca_$e w'th District When Case number, if known
you, or by a business MM/DD /yyYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MM / DD/YYYY
11- D° you rent your id No. so to line 12.
` 7 . . . . .
res'de"ce ‘ m Yes. Has your landlord obtained an eviction judgment against you?

Official Form 101

El No. soto line 12.

ij Yes. Fi|| out Initia/ Statement About an Eviclion JudgmentAga/nst You (Form 101A) and me it with
this bankruptcy petition.

Voluntary Petition for individuals Filing for Bankruptcy page 3

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Debtor 1 El'lC l\/l lCliael B€ll Case number (rfi<nown)

First Name Midd|e Name Last Name

m Report About Any Businesses You Own as a Sole Proprief:or

 

12. Are you a sole proprietor m NO_ 30 to part 4_
l of any fu|i- or part-time
business? n Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
LLC_ Number Street

 

Name of business, if any

 

lf you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZlP Code

Check the appropriate box to describe your business:

El Health Care Business (as defined in 11 U.S.C, § 101(27A))
m Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
m Stockbroker (as defined in 11 U.S.C. § 101(53A))

n Commodity Broker (as defined in 11 U.S.C. § 101(6))

n None of the above

 

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. if you indicate that you are a small business debtor, you must attach your

most recent balance sheet, statement of operations cash-flow statement, and federal income tax return or if

B nkr n
a uptcy Code a d any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

are you a small business

debtor’?
_ _ m No. l am not filing under Chapter11.
For a definition of small
business debtor, see m No. l am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U~S-C- § 101(5‘\[3)~ the Bankruptcy Code.

l;i Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

m Report if You Own or Have Any Hazardous Property or Any Property That Needs lmmediate Attention

 

14. Do you own or have any m No
' property that poses or is
alleged to pose a threat Cl Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why is it needed?

 

immediate attention?
For examp/e, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the propeity?

 

 

 

 

Number Street
City State Z|P Code
Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 4

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oebior 1 Eric l\/iichael Bell

First Name Middie Name

Last Name

Case number iiii<nawn)

Explain Your Efforts to Receive a Briefing About Credit Counseiing

 

15. Te|i the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to fi|e.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Officiai Form 101

About Debtor 1:

You must check one:

g i received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and i received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

m i received a brienng from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

n l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days afterl made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satished with your reasons you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

m l am not required to receive a briehng about
credit counseling because of:

a incapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

L_.] Disabiiity. My physical disability causes me
to be unable to participate in a
briehng in person, by phone, or
through the internet, even after i
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

m l received a briefing from an approved credit
counseling agency within the 180 days before i
filed this bankruptcy petition, and l received a
certificate of compietion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, buti do not have a
certificate of compietion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

L:i l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days afterl made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to hle this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
brienng before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you nle.
You must me a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about
credit counseling because of:

Cl lncapacity. l have a mental illness ora mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

[;l Disabiiity. Niy physical disability causes me
to be unable to participate in a
brieHng in person, by phone, or
through the intemet, even after l
reasonably tried to do so.

m Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briehng about credit counseling, you must file a
motion for waiver of credit counseling with the court. `

Bankruptcy page 5

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Debtor 1 Eric

l\/iichae| Bei|

Firsi Name Mlddle Name

Case number (l/knownl
Last Name

Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have'?

16a. Are your debts primarily consumer debts? Consumer debts are denned in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personai, family, or household purpose."

El No. cotoline leb.
m Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

E| No.eoioline leo
n Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts

 

 

' 17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

n No. iam not filing under Chapter 7. Go to line 18.

m Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and |2[ No
administrative expenses
are paid that funds will be n YeS
available for distribution
to unsecured creditors?
ia. How many creditors do lZi 149 El 1,000-5,000 El 25,001-50,000
you estimate that you Cl 50-99 Cl 5,001-10,000 ill 50,001-100,000
°We? ill 100-199 Ei 10,001-25,000 El lvlorornan 100,000
Cl 200-999
` 19. How much do you Ei $0-$50,000 Ci $1,000,001-$10 million Ei $500,000,001-$1 billion

estimate your assets to
be worth?

Cl $50,001-$100,000
Cl $100,001-$500,000
El $500,001-$1 million

ill $10,000,001-$50 million
C] $50,000,001-$100 million
l_`.l $100,000,001-$500 million

E] $1,000,000,001-$10 billion
E| $10,000,000,001-$50 billion
ill lvlore than $50 billion

 

20. How much do you
estimate your liabilities
to be?

Sign Below

l For you

Official Form 101

El $0-$50,000

iii $50,001-$100,000
m $100,001-$500,000
Cl $500,001-$1 million

El $1,000,001-$10 million

El $10,000,001-$50 million
El $50,000,001-$100 million
El 3100,000,001-$500 million

Ci $500,000,001-$1 billion

L`.| $1,000,000,001-$10 billion
C| $10,000,000,001-$50 billion
Cl lvioro than $50 billion

l have examined this petition, and l declare under penalty of perjury that the information provided is true and

COi'feCf.

if l have chosen to file under Chapter 7, i am aware that l may proceed, if eiigibie, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed

under Chapter 7.

if no attorney represents me and i did not pay or agree to pay someone who is not an attorney to help me fill out
this document, i have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

i understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in hnes up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341

x<:f

19, and 3571.

X

 

Signature of Debtor 1

Executedon 0 ZZ 2 ZO/O

MM /DD lYYYY

Voluntary Petition for individuals Filing for Bankruptcy

 

Signature of Debtor 2

Executed on
MM/ DD /YYYY

page 6

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Debtor 1 E['[Q M`|Ql]§g[ BQ|| Case number (irhnown)
Flrsl Name Ml'dd|e Name Last Name

 

l, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eiigib|e. l also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that l have no

For your attorney, if you are
represented by one

 

if you are not represented knowledge after an inquiry that the information in the schedules hled with the petition is incorrect
by an attorney, you do not
need to file this page. X
Date
Signature of Altorney for Deblor MM / DD /YYYY

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

City State ZlP Code
Contact phone Email address
Bar number State

 

Officiai Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 7

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Debtor 1 El'iC l\/|iChael Beii Case number lirknown)

Hrst Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy WithUf an should understand that many people find it extremely difhcult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

if you are represented by
an attorney, you do not To be successfu|, you must correctly file and handle your bankruptcy case. The rules are very

need to me this page_ technica|, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not fl|e a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happens, you could lose your right to file another
case, or you may lose protections, including the benth of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. if you do not list a debt, the debt may not be discharged if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthfui, and compiete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

lf you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federai Rules of
Bankmptcy Procedure, and the local rules of the court in which your case is fried. You must also
be familiar with any state exemption laws that appiy.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

n No

m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be flned or imprisoned?

m No
m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
m No

a Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Noiice, Dec/aration, and Signature (Officiai Form 119).

 

By signing here, l acknowledge that l understand the risks involved in filing without an attomey. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

/

 

 

 

X X
Signature of Debtor 1 Signature of Debtor 2
Date 0 `//f §/ZD/ g Date
MM/DD /YYYY MM/ DD/YYYY
Contact phone Contact phone
cell phone (260) 442-1 184 cell phone
Email address eriCbe"414@Qmai|-C0m Email address

 

 

Off"lciai Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 8

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Fill in this information to identify your case:

Debtor1 ' Mi h l

Firsl Name Middle Name Last Name

Debtor 2
(SpOUSE, if i'lling) Firsi Name Middie Name Last Name

 

United States Bankruptcy Court for ihe: Northern District of indiana

case number E] check if this is ah
‘"k"°‘”"’ amended filing

 

Official Form 1068um
Summary of Your Assets and Liabiiities and Certain Statistical information 12/15

 

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B.' Property (Omcial Form 106A/B)

 

 

 

 

 

1a Copy line 55, Total real estate, from Schedule A/B ....................................................................................... $ M
§ 1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................... $ 9,623.28
§ ic. Copy line 63, Total of all property on Schedule A/B ......................................................................................................... $ 25,583_72
m Summarize Your Liabiiities
Your liabilities

Amount you owe
2. Schedule D: Creditors Who Have C/aims Secured by Property (Officiai Form 1060)

2a. Copy the total you listed in Co|umn A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ w

3. Schedule E/F.' Creditors Who Have Unsecured C/aims (Ofncial Form 1065/F)

2 .
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ s -_M~Q_

3b. Copy the total claims from Part 2 (nonprior`lty unsecured ciaims) from line Gj of Schedule E/F .......................................

+ $ 183,165.42

 

 

 

 

 

Your total liabilities $ 2691589~98
m Summarize Your Income and Expenses
4. Schedule l.' Your/ncome (Of&cial Form 106|) 2 201 40
Copy your combined monthly income from line 12 of Schedule l .......................................................................................... $ _’-`~_-
5. Schedule J: Your Expenses (thciai Form 106J)
Copy your monthly expenses from line 220 of Schedule J .................................................................................................... $ _M

 

 

 

Offlcial Form 1068um Summary of Your Assets and Liabiiities and Certain Statisticai information page 1 of 2

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Debtor1 Eric Michael Bell Case number (irknown)
Firsi Name Middle Name Last Name

m Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

n No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

m Yes

 

7. What kind of debt do you have?

M Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a persona|,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

l;l Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Offlcia|
Form 122A-1 Line 11; oR, Form 1223 i_ine ll; 0R, Form 1220-1 l_ine 14. $ 3,765.00

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

 

Total claim
From Part 4 on Schedule E/F,` copy the following:

9a. Domestic support obligations (Copy line Sa.) $ 0'00

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $_____&3_8299
9c. Claims for death or personal injury while you were intoxicated (Copy line 60.) $ O'OO
Qd. student loans (copy line er.) s 1231897-29
; 9e. Obligations arising out of a separation agreement or divorce that you did not report as $ O_OO
priority claims. (Copy line Gg.) _

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ O-OO

99. Total. Add lines ea through er. $ 131 ,282.29

 

 

Offlcial Form 1068um Summary of Your Assets and Liabiiities and Certain Statistica| lnformation page 2 of 2

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Fill in this information to identify your case and this filing:

Debtor1 Fri¢" NliChael Be"

First Name Middle Name Last Name

Debtor 2
(SpDuSe, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Couit for ther Northern District of lndiana

Case number

 

Cl check ifihis is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

|n each category, separately list and describe items. List an asset only once. if an asset fits in more than orie category, list the asset in the
category where you think it fits best. Be as complete and accurate as possib|e. lf two married people are filing together, both are equally
responsible for supplying correct information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

m Describe Each Residence, Building, Land, or Other Rea| Estate You Own or Have an Interest ln

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

Cl No, Go to Part 2.
m Yes. Where is the property?

What ls the property? Check a" that appty` Do not deduct secured claims or exemptions Put

l;] Sing|e-family home the amount of any secured claims on Schedule D:
1`1_ 1 006 Lake Avenue creditors who Have claims secured by Properiy.

Street address, if available, or other description

 

q Duplex or multi-unit building

 

 

 

 

 

 

n C°nd°mi“ium °r C°°Pe"atlve Current value of the Current value of the
m Manufactured or mobile home entire Pl'operiy? portiOr\ you own?
El rand $ 100,000.00 $ 15,960.44
n investment property
Fort Wayne |N 46805 n Timeshare Describe the nature of your ownership
my S'ate Z'p Code n 0 h interest (such as fee simple, tenancy by
t er the entireties, or a life estate), if known.
' ' ') .
Who has an interest in the property. Check one, fee Slmp|e, homestead
Al|en w Debtor1 only
Counry m Debtor 2 only

L_.l Check if this is community property

n Debtor 1 and Debtor 2 only . .
(see instructions)

n At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

lf you own or have more than one, list here:

' ')
What ls the property ` Check an that app|y' Do not deduct secured claims or exemptions Put
m Single-family home the amount of any secured claims on Schedule D.'

 

 

 

 

 

i 1_2_ l n l ' m Dup'ex or multi_unit building Creditars Who Have Claims Secured by Property.

. Streetaddress, if available, or other description ‘ _ _ 1 ~ ' ~ ' ~» ~ \ ~ \ \ ~
|;l COndOm'nll-lm Or COOP€FHUV€ Current value of the Current value of the '
n Manufactured or mobile home entire property? portion you own?
l;] Land $ $
m investment property

. Describe the nature of your ownership
City State ZlP Code m T'meshare interest (such as fee simple, tenancy by

n Other the entireties, or a life estate), if known.

Who has an interest in the property? Check one,
n Debtor1 only

 

 

County U Debtor 2 only
m Debtor1 and DebtorZ On|y n Check if this is community property
L_.] At least one of the debtors and another (See inSfFUCinHS)

Other information you wish to add about this item, such as local
property identification number:

 

 

Otticial Form 106A/B Schedule Ale Property page 1

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D€beI’ 1 El'iC MiChaei Beii Case number (i/kriawni
First Name Middie Name Last Name
Whai i$ the Pr°Perty? Check aii thai appiy~ Do not deduct secured claims or exemptions Put
- _ - the amount of any secured claims on Schedule D:
1~3~ n Smgle fam"y h_OmG_i _ _ Creditors Who Have Claims Secured by Property.
Street address, ifavai|ab|e, or other description n Dup|ex or multi-unit bui!ding a - » a ~ ~ ~ a a a ~ a a ~ ~
[_] Condominium or cooperative Current value of the Current value of the a
_ entire property? portion you own?
i;\ Manufactured or mobile home
i;l Land $ $
a investment property _
C“y State ZlP Code n Timeshare i)escribe the nature of_your ownership
interest (such as fee simple, tenancy by
C] Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
i;l Debtor1 only
C°“"“' El Debior 2 only
Cl Debiori and oer>ior 2 oniy n Chec_k if this is community property
n At least one of the debtors and another (See instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part1, including any entries for pages $ 15,960_44
you have attached for Part 1. Write that number here. ...................................................................................... 9 ___
m Describe Your Vehicles
Do you own, iease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
" you own that someone eise drives. if you lease a vehic|e, also report it on Schedule G.' Executory Contracts and Unexpired Leases.
' 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
n No
g Yes
3,1. Make: Chiysier Wh° has an interest in the Pi'°P€i'iy? Check °ne- Do not deduct secured claims or exemptions Put
Tawaanac … ‘2;:;::,°;iii;ai:y:e;i;?;:':;";:,::§;'i:::’:,,€;
1996 i;lDebtorZonly . ., ,, ,_ t vt t
Yeai: ________ Current value of the Current value of the
144000 i._.] Debtor1 and Debtor2 only entire property? portion you own? .
Approx'mate m'leage; ---_-_-_- i;.l At least one of the debtors and another '
Other information: ,
_ _ _ _ 3 600.00 $ 600.00 a
n Check if this is community property (see
instructions)
if you own or have more than one, describe here:
3'2_ Make; Wh° has an interest ii’i the Pr°Pei'ty? Check °"e~ Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Ci
Mode|: Debtor 1 only

Creditors Who Have Claims Secured by Property.
n Debtor20niy … . , , ,

Yeafi a Debtor1 and Debtor 2 only Current value of the Current value of the
. . v entire property? portion you own?
Appiox'maie mileage' _ n At least one of the debtors and another
Other information:
$ $

 

 

 

a Check if this is community property (see
instructions)

 

 

Officia| Form 106A/B Schedule A/B: Property page 2

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DebiOi’ 1 Frir` Mj{`h.';ipl RP_]_I Case number rirknown)
First Name Middie Name Last Name
3_3. Make.' Wn° nas an interest in the Pi'°Pei'iy? Check °ne- Do not deduct secured claims or exemptions Put

[;l D b1 1 l the amount of any secured claims on Schedule D:

Mode|: ___ m e °r °n y Creditors Who Have Claims Secured by Property.

Debtor2only t ,`_ _, .,. _ ,

Year;
Ei Debtor1 and Debior 2 oniy g:t'i::“ir‘;ai;': °,; the C:g:':`i;:;":;;;he

Appi°ximaie mileagei ____-___- L_..i At least one of the debtors and another p p y p '

Other information:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

i;l Check if this is community property (see $ $ ’
instructions)
3_4‘ Make; Wn° has an interest in ins Pi'°Peiiy? Check °"e- Do not deduct secured claims or exemptions Put
a D b1 1 l the amount of any secured claims on Schedule D:
Mode|: e cr on y Creditors Who Have Claims Secured by Property. `
UDeblOrzor-l]y ,, … ,.…._ t, … ,t a
Yeaii ____-___ L'_] Debtor1 and Debtor 2 only Current value of the Current value of the '
~ - . entire ro ert ? ortion ou own? `
Appioxin'iaie iniieage~ __ m At least one of the debtors and another p p y p y
Other information:
m Check if this is community property (see $ $
instructions)
: 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examp/es: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiies, motorcycle accessories
m No
m Yes
4_1. Make; Wn° nas an interest in the Pr°Pei'iy? Check one- Do not deduct secured claims or exemptions Put
m D b1 1 l the amount of any secured claims on Schedule D:
i\/iode|: e or on y Credilors Who Have Claims Secured by Property,
n Debtor 2 only
Year; n ., . … ,, t ,.
_ . . Debi°i 1 and Debi°i 2 °"iy Current value of the Current value of the j
Oinei ini°iinaii°n~ n At least one of the debtors and another entire property? portion you own?
n Check if this is community property (see $ $
instructions)
if you own or have more than one, list here:
4,2, Make: Wn° nas an interest in ins Pi'°Peny? Check °"e- Do not deduct secured claims or exemptions Put
m D b1 1 l the amount of any secured claims on Schedule D.'
Modei: e Or °n y Creditors Who Have C/aims Secured by Property.

m Debtor 2 only

 

 

 

 

 

 

Y€arf Current value of the Current value of the
. . , cl Debtor1 and Debior 2 only entire property? portion you own?
Oinei inioi'maii°n- n At least one of the debtors and another
i:i Check if this is community property (see $ $
instructions)
: 5. Add the dollar value of the portion you own for ali of your entries from Part 2, including any entries for pages $ 500_00
you have attached for Part 2\ Write that number here ........................................... 9 ' "' ' " _"`

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 3

Debtor 1

Eric

Firsl Name

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Michaei

Middie Name

Be||

Last Name

Case number rir known)

Describe Your Personai and Househoid items

Do you own'or have any legal or equitable interest in any of the following items?

Househoid goods and furnishings

Examp/es: Major appliances, furniture, iinens, china, kitchenware

i;i No
m Yes. Describe .........

Eiectronics

Current value of the
portion you own?

Do not deduct secured claims `
or exemptions '

 

2 relrigerators, microwave, 2 ovens, washer, dryer, coffee maker, couch, 4 chairs, tabie, bed

 

1,200.00 t

 

 

Examp/es: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music

coilections; electronic devices including cell phones, cameras, media piayers, games

m No
m Yes. Describe ..........

8. Co|lectib|es of value

 

cell phone, television, alarm clock, old |aptop computer, printer

 

1,000.00

 

 

Examples: Antiques and iigurines; paintings, prints, or other artwork; booksl pictures, or other art objects;
stamp, coin, or baseball card coilections; other coilections, memorabilia, coilectib|es

m No
n Yes. Describe ..........

 

 

 

 

9. Equipment for sports and hobbies

Examp/es: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf ciubs, skis; canoes
and kayaks; carpentry too|s; musical instruments

m No
n Yes. Describe ..........

10. Firearms

Examples: Pistois, rifles,

m No
n Yes. Describe ..........

11.Clothes

 

 

 

 

shotguns, ammunition, and related equipment

 

 

 

 

Examp/es: Everyday ciothes, furs, leather coats, designer wear, shoes, accessories

El No
m Yes. Describe ..........

; 12.Jeweiry

 

 

everyday clothes, dress shoes, tennis shoes, Winter coat, rain coat

100.00 §

 

 

Exampies: Everydayjeweiry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,

go|d, silver

m No
n Yes. Describe ..........

13. Non-farm animals

El No
m Yes. Describe ..........

m No
in Yes. Give specinc
information. .............

 

j 15, Add the dollar value of

 

Ofnciai Form i`OGA/B

 

 

 

 

Examp/es: Dogs, cats, birds, horses

 

 

 

75.00 f

 

rinn pat

14.Any other personal and household items you did not already iist, including any health aids you did not list

 

 

 

for Part 3. Write that number here

ali of your entries from Part 3, including any entries for pages you have attached

 

$__Q_.M

 

 

 

   

Schedule AlB: Property

page 4

 

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Debtor 1 Fri(‘ Michapl BPll Case number (i/i<nawn)
Firsl Name Midd|e Name Last Name
m Describe Your Financial Assets
' Do you own or have any legal or equitable interest in any of the following? ~ C\-\l’\’e"t Va\u€ °f the
» portion you own? g
Do not deduct secured claims
or exemptions
16. Cash
v Examples.' Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
m No
m Y€S ................................... Cash: $

 

17.Deposits of money
Examp/es: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions if you have multiple accounts with the same institution, list each.

 

 

El No

m Yes ..................... lnstitution name:
17,1. checking account Partners lst Credit Union 300.00
17.2. Checking account:
17.3. savings accounr; Partners lst Credit Union 5.00

 

17.4. Savings account:

 

17.5. Certificates of deposit

 

17.6. Other financial account:

 

17.7. Other financial account

 

17.8. Other financial account

 

€B$€B€H€B$€HG?€£

1749. Other financial account:

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

E|No

n Yes ................. lnstilution or issuer name:

 

 

 

19. Non~pub|icly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

m No Name of entity: % of ownership:
n Yes. Give specihc %
information about
them ......................... %

 

%

Ochial Form 106A/B Schedule AlB: Property page 5

 

 

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Debfor 1 El'i(‘ Michaei Beli Case number (ifknown)

Flrsl Name Midd|e Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negot/'ab/e instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

mNo

m Yes. Give specific issuer name:
information about
them ....................... $

 

 

 

21. Retirement or pension accounts
Examp/es.' interests in |RA, ERISA, Keogh, 401(k), 4,03(b)l thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

L_..l No
m Yes. List each
account separately Type of account institution name:
401 (i<) or similar pian: $
Pension plan: $
iRA: $
Retiremen, account J.P. Morgan 1681 13-01 $ 78.28
Keogh: $
Additiona| account $
Additiona| account $
j 22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
a No
m Yes .......................... institution name or individual:
Eiectric: $
Gas: NlpSCO $ 265.00
Heating oi|: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
l m No
n Yes .......................... issuer name and description:
$
$
$

 

 

Off`icia| Form 106A/B Schedule AlB: Property page 6

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Debtor1 El'iC Michaei Beii Case number wknawn)

Firsl Name Middle Name Lasl Name

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

m No

l;l Yes ....................................

 

institution name and description Separately file the records of any interests.11 U.S.C. § 521 (c):

 

 

 

 

z 25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

mNo

El Yes. Give specific
information about them.... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lnternet domain names, websites, proceeds from royalties and licensing agreements

mNo

|;l Yes. Give specific
information about them,... $

 

 

 

 

 

 

" 27. Licenses, franchises, and other general intangibles
Examp/es: Buiidirig permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

 

 

 

 

w No
|;l Yes. Give specific
information about them.... $
: M°n€y 0\' Property owed f° you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

28.Tax refunds owed to you

mNo

 

0 Yes. Give specific information Federal; $ 0.00
about them, including whether
you already filed the returns State: $ O'OO
and the tax years. ....................... Loca|: $ 0_00

 

 

 

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

mNo

 

 

 

 

 

 

 

n Yes. Give specinc information..............
A|imony; $
Mainlenance: $
Suppoit: 3
Divorce settiement: $
Property settlement $

z 30, Other amounts someone owes you
Examp/es: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benents; unpaid loans you made to someone else
m No
n Yes. Give specific information ...............
5

 

 

 

Official Form 106A/B Schedule AlB: Property page 7

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Debtor 1 Frit` l\/l iCh 381 BPI| Case number (iri<nawn)

First Name Middle Name Last Name

31. interests in insurance policies
Examples.' Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

mNo

l:] Yes. Name the insurance company Company name: Beneflciary; Sur,ende, or refund Va\ue;
of each policy and list its vaiue.

 

 

 

 

 

 

32. Any interest in property that is due you from someone who has died
if you are the benehciary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive
property because someone has died.

mNo

n Yes. Give specific information ..............

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$
. 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance ciaims, or rights to sue
a No ,
m Yes. Describe each claim. .................... . . '
Judgement for eviction case # 02D03-1706-SC-009561 $ 6,000.00
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
' to set off claims
m No
m Yes. Describe each ciaim. ....................
$
35.Any financial assets you did not already list
n m No
m Yes. Give specific information ............ s
§ 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here .................................................................................................................................................... 9 $ 61648'28

 

 

 

 

 

m Describe Any Business-Related Property You 0wn or Have an interest ln. List any real estate in Part 1. ,

 

37. Do you own or have any legal or equitable interest in any business-related property?
y m No. Go to Part 6.
|;] Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions
38.Accounts receivable or commissions you already earned
m No
l;] Yes. Describe .......
$

 

 

 

39. Office equipment, furnishings, and supplies
‘ Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, lelephones, desks, chairs, electronic devices

m No
n Yes. Describe ....... $

 

 

 

 

Ofticial Form 106A/B Schedule A/B: Property page 8

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Debtor1 El'iC MlChael Bell Case number ii/knownl

Firsl Name Middle Name Last Name

; 40,Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

MNO

m Yes. Describe .......

 

 

 

 

 

y 41.lnventory
m No
m Yes. Describe .......

 

 

 

 

 

f 42.lnterests in partnerships orjoint ventures

MNO

m Yes. Describe ....... Name Of entity % of ownership:

 

 

 

43. Customer lists, mailing lists, or other compilations
m No
[;l Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

El No
[] Yes. Describe ........

 

 

 

 

 

: 44.Any business-related property you did not already list
z m No

ij Yes. Give specific
information .........

 

 

 

 

 

 

% $
% $
% $

69$€£69$€6

 

45_ Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here .......................... .. 9

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You own or Have an lnterest ln.
if you own or have an interest in farmland, list it in Part1.

 

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

w No. Go to Part 7.
a Yes. Go to line 47.

 

z 47. Farm animals
Examp/es: Livestockl poultry, farm-raised fish

[zNo

 

n Yes .........................

 

 

 

 

Officiai Form 106A/B Schedule AlB: Property

page 9

Current value of the
portion you own?

Do not deduct secured claims f
or exemptions '

 

Debtor 1 E ri(`

First Name

48. Crops-either growing or harvested

ENo

l
n Yes. Give specific

 

Case 18-10692-reg Doc 1

Case number iii knawn)

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information. ............ » $
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
m No
n Yes ..........................
$
§ 50. Farm and fishing supplies, chemicais, and feed
m No
[] Yes ..........................
$
51.Any farm- and commercial fishing-related property you did not already list
l m No
a Yes. Give specinc
information. ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ G_OO
for Part 6. Write that number here ......................... 9
Describe All Property You Own or Have an interest in That ¥ou Did Not List Above
y 53. Do you have other property of any kind you did not already list?
` Examples: Season tickets country club membership
m No
l:l Yes. Give specihc
information. ............
; 54.Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9 O'OO
List the Totals of Each Part of this Form
55.Part 1: Total real estate, line 2 ....... ') $M
se. Part 2: Totai vehicles, line 5 $ 600‘00
57. Part 3: Total personal and household items, line 15 $ 2’375`00
58. Part 4: Toiai nnanciai asseis, line 36 $ 6'648~28
59. Part 5: Total business-related property, line 45 $ 0'00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0'00
61. Part 7: Total other property not listed, line 54 + $ O~OO
62.Total personal property. Add lines 56 through 61. .................... $ 9’623'28 Copy personal property total 9 §+ $ 9,623-28 '
63.Total of all property on Schedule A/B. Add line 55 + line 62 .......................................................................................... $ 25’583'72
Officiai Form 106A/B Schedule AlB: Property page 10

 

 

 

 

    

 

 

 

 

 

 

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Fill in this information to identify your case:

 

 

 

oebiori Eric Michaei Be|i

Fiisl Name Middle Name Last Name
Deblor 2
(Spouse, if f"l|lng) Firsl Name Middle Name Last Name

United States Bankruptcy Court for the: Nonhem Distrle Ol indiana

Case number m Check if this i$ an
('fk"°“'") amended filing

Officiai Form 106C
Schedule C: The Property You Ciaim as Exempt 04/16

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B.' Property (Officia| Form 106A/B) as your source, list the property that you claim as exempt if more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m ldentify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one on/y, even if your spouse is filing with you.

m You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
l;l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the ` Amount of the exemption you claim Specific laws that allow exemption

 

 

 

Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption

Schedule A/B
Brief ‘ 34 55 10 2 1
description: -EQLS-QD§LB-e-SLd-QDS-e_ $ 15-961-00 m $ 15,961.00 - - - (C)< )
Line from n 100% of fair market value, up to
Schedule A/B_- 1 .`l any applicable statutory limit
Brief
description: _l;louseb;ild_£ioods___ $ 1.200.00 12 $ 1‘200.00 34-55-10-2(0)(2)
Line from ij 100% of fair market valuel up to
Schedule A/B_- '6"_ any applicable statutory limit
Brief _
description: M $ 1.000.00 U $ 400.00 34~55-10-2(0)(2)
Line from i;l 100% of fair market value, up to

Schedule A/B: 1 any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

mNo

m Yes. Did you acquire the property covered by the exemption within 1,215 days before you E|ed this case?

yl:l No
U Yes

Ofncia| Form 1060 Schedule C: The Property You Claim as Exempt page 1 of__

Debior 1 Eric

Fiist Name

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Michaei Beli

Middle Name Last Name

a Additiona| Page

Case number (iri<nown)

 

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B.'

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/_B: '_

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Officiai Form 106C

Current value of the
portion you own

Copy the value from

Amount of the exemption you claim Specific laws that allow exemption

Check only one box for each exemption

i;zl s 100.00 34-55-10-2(0)(2)

 

n 100% of fair market value, up to

ii u.s.c. § 522(b)(3)(c)

 

i;l 100% of fair market value, up to
any applicable statutory limit

gi $ 265.00 34-55-10-2<<>)(2)

 

m 100% of fair market value, up to

M $ 75_00 34-55-10-2(0)(2)

 

i:l 100% of fair market value, up to

54 $ 305.00 34~55~10~2(0)(2)

 

a 100% of fair market value, up to

54`.55§1'6-`2<¢)<2)

 

la 100% of fair market value, up to

M $ 73_28 34-55-10-2(0)(2)

 

L_.l 100% of fair market value, up to

 

m 100% of fair market value, up to

 

 

n 100% of fair market value, up to

 

n 100% of fair market value, up to
any applicable statutory limit

 

m 100% of fair market value, up to

Schedule A/B
Clothes $ 100.00
1 1 _ _ _
"‘"_ any applicable statutory limit
Retirement Account $ 78.28 w $ 1 ,874.00
21
Security Deposit NiPSCO $ 265.00
gg_~ any applicable statutory limit
Dog and Cat $ 75.00
13
_ any applicable statutory limit
Money in Bank $ 305.00
17 any applicable statutory limit
Chrys|er Town and Country $ SO0.00 [] $
L any applicable statutory limit
Retirement Account $ 78.28
21 _ . .
_ any applicable statutory limit
$ El s
_ any applicable statutory limit
$ El s
---- any applicable statutory limit
$ U $
$ CJ s
____ any applicable statutory limit
$ ill s

 

m 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You C|aim as Exempt page _ of_

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Debtor 1 Fri¢‘

Michael Bell Case number (iii<nawn)

Firsl Name Mlddle Name Last Name

M Additional Page

 

 

 

 

 

 

 

 

 

 

 

 

 

Brief description of the property and line Current value of the Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own y
Copy the value from Check only one box for each exemption
Schedule A/B

Brief
description: $ El $
Line from El 100% of fair market value, up to
Schedule A/B_~ any applicable statutory limit
Brief
description: $ n $
Line from n 100% of fair market value, up to
Schedule A/B_~ __» any applicable statutory limit
Brief
description: $ n $
Line from n 100% of fair market value, up to
Schedule A/B_- ___ any applicable statutory limit
Brief
description: $ n $
Line from El 100% of fair market value, up to
Schedule A/B; any applicable statutory limit
Brief
description: $ m $
Line from n 100% of fair market value, up to
Schedule A/B; ___-__ any applicable statutory limit
Brief
description: $ n $
Line from a 100% of fair market value, up to
Schedule A/B; __“_ ’ any applicable statutory limit
Brief
description: $ l:l $
Line from m 100% of fair market value, up to
Schedule A/B_~ any applicable statutory limit
Brief
description: $ n $
Line from L_.l 100% of fair market value, up to
Schedule A/B; _ any applicable statutory limit
Brief
description: $ cl $
Line from n 100% of fair market value, up to
Schedule A/B_~ ___ any applicable statutory limit
Brief
description: $ n $
Line from a 100% of fair market valuel up to
Schedule A/B_~ ____ any applicable statutory limit
Brief
description: $ a $
Line from n 100% of fair market value, up to
Schedule A/B_~ _ any applicable statutory limit
Brief
description: $ n $
Line from a 100% of fair market value, up to
Schedule A/B; ""'"'* any applicable statutory limit

Officia| Form 1060

Schedule C: The Property You Claim as Exempt page ___ of_

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Fill in this information to identify your case:

Debtor 1 El'lC Bt=ll

Firsl Name Middle Name Last Name

Debtor 2
(Spouse, if Hling) FttsiNama

 

Middle Name Last Name

united states Bankruptcy court for tha: Norihern District of lndiana

Case number
l if knownl

 

Cl check ifthis is an
amended filing

 

 

Officiai Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the Additiona| Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

12/15

 

1. Do any creditors have claims secured by your property?
El No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.
[’2[ Yes. Fill in all of the information below.

m List Ari secured claims

 

  
   
 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

commit A commit a , ` _ column `c ¢
2. List all secured claims. |f a creditor has more than one secured claim, list the creditor separately Amount bf claim Vajue °'f `c°"ate`ra; " unsecured r.
for each claim. lf more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct me that supn°'rts ghi nn,-¢i°n `
As much as possible, list the claims in alphabetical order according to the creditors name verne ofco"aierat t claim y , , ' l a,"»y"_, ` g _
131 Ruoff Home |\/|Ortgage Describe the property that secures the claim: $ 84 039 56 $ 100 000' 00 $ O'OO
Creditor's Name
1700 Magnavox Way Suite 220 1006 Lake Avenue Fort Wayne, lN 46805
Number street Personal Home
As of the date you file, the claim is: Check all that apply.
m Contingent
Fort Wayne |N 46804 11 unliquidated
City State ZlP Code n Dispu'ed
Who owes the debt'? Check one. Nature of lien. Check ali that appiy.
q D€beF 1 Only g An agreement you made (such as mortgage or secured
l:] Debtor 2 only car loan)
['_'] Debtor1 and Debtnrg On\y n Statutory lien (such as tax lien, mechanic's lien)
m At least one of the debtors and another m Judgment lien from 3 lawsuit
m Other (including a right to ottset)
m Check if this claim relates to a
community debt
Date debt was incurred 09/16/2016 Last 4 digits of account number _1_ _9_ _§_ __9_
-Z#?l Describe the property that secures the claim: $ $ $ 1 1 1384-92
Creditor's Name
Number Street
As of the date you tile, the claim is: Check all that app|y.
n Contingent
m Un|iquidated
City State ZlP Code m Disputed
Who owes the debt? Check one- Nature of iien. check air that appiy.
n Debt°\' 1 On‘y L_.] An agreement you made (such as mortgage or secured
m Debtor 2 only car loan)
[l Debtor1 and Debtorg only m Statutory lien (such as tax lien, mechanic's lien)
m At least one of the debtors and another n Judgmenf lien from 3 lawsuit
n Other (including a right to offset)
n Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number_ ___
Add the dollar value of your entries' in Column A on this page. Write that number here: F_____B_§,_O_S_Q.§_€ l
thcial Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of _

 

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 25 of 79

Debtor1 El'lC M lChael

First Name Middle Name

B€ll Case number iii know/il
Lasl Name

 

Additional Page

After listing any entries on this page, number them beginning with 2.3, followed

column A

 

 

 

,, , , 5 'CO`/vmh$, . ,
Amount of claim _~Valu'e of collateral v yUnsecured y

v Colum_n C

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

/aaiit,tdaau¢tttia riversup`pmsthts portion
by 2'4' and s° f°rth‘ valueof collateral._ § Claim f `-` 'i lf anyl
Describe the property that secures the claim: $ $ $
Creditor's Name
Number Street
As of the date you tile, the claim is: Check all that apply.
n Contingent
City State ZlP Code m Un|iquidated
n Disputed
WhO OlNeS the debf? Check One, Nature of lien. Check all that apply.
n Debtor1 0an n An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
[;] Deblnr 1 and Debior 2 only m Statutory lien (such as tax lien, mechanic's lien)
n At least one of the debtors and another n Judgme"l lien from 3 lawsuit
n Other (including a right to offset)
l:l Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number _ _ ___
2.4 l
. Describe the property that secures the claim: $ $ $
Creditor's Name
Number Street
As of the date you f'ile, the claim is: Check all that apply.
m Contingent
El uniiquidated
City State ZlP Code a Disputed
who owes the debt? Check one‘ Nature of |ien. Check all that apply.
n Debtor 1 only a An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
n Debtor1 and Debtor? On|y m Statutorylien (such as tax lien, mechanic's lien)
n At least one ot the debtors and another n Judgment lien from a lawsuit
ill check if this claim reiates to a n Other (including a right to arisen
community debt
Date debt was incurred Last 4 digits of account number __ _ _
2,5 l
. Describe the property that secures the claim: $ $ $
Credilofs Name
Number Street
As of the date you tile, the claim is: Check all that apply.
l:l Contingent
City state zii= code l;l unliquidated
l;l Disputed
Wh° °Wes the debl? Check One- Nature of lien. Check all that app|y,
n D€blol' 1 unli' n An agreement you made (such as mortgage or secured
[] Debtor 2 only car loan)
m Debtor1 and Debior 2 on|y L_.l Statutory lien (such as tax lienl mechanic's lien)
El At ieast one or the debtors and another m Judgmenf lien from a lawsuit
n Other (including a right to offset)
[;l Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number ____ _ ___ ___
Add the dollar value of your entries in Column A on this page. Write that number here: $ 0.00
lf this is the last page of your form, add the dollar value totals from all pages.
._ _\t\tr_i"te.tbat.n~ii_r_n_ber_here: 3
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page of

 

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Debtor1 EriC Michaei Bel| Case number (nknawn)

Firsi Name Middle Name Last Name

m List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. if you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

On which line in Fart1 did you enter the creditor? __
g Name Last 4 digits of account number_ _ ___
§ Number Street
City State ZlP Code
|2'7 On which line in Part 1 did you enter the creditor? _
Name Last 4 digits of account number_ _ __ _
Number Street
City State ZlP Code
|2‘8 On which line in Part1 did you enter the creditor? _
Name Last 4 digits of account number_ _ _
Number Street
City State ZlP Code
!2~9 On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number __ __ _
Number Street
City State ZlP Code
250 On which line in Part1 did you enter the creditor?
Name Last 4 digits of account number __ __ _
Number Street
City State ZlP Code
k~" On which line in Part 1 did you enter the creditor? _
§ Name Last 4 digits of account number_ _ _ _
Number Street
City State ZlP Code

Officiai Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page _ of_

 

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 27 of 79

Fill in this information to identify your case:

Debtor1 Eric Michaei Bell

First Name Midd|e Name Last Name

Debtor 2
(Spouse, if Hling) First Name Middle Name Last Name

 

united states Bankruptcy court for tne; Northern District of indiana

 

iii check if this is an

Case number amended nling

(|l known)

Officiai Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRlOR|TY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. A|so list executory contracts on Schedule
A/B: Property (Official Form 106AlB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

 

m List All of ¥our PRlOR|TY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?
n No. Go to Part 2.
m Yes.

2. List all of your priority unsecured claims. |f a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
’ each claim listed, identify what type of claim it is. if a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts As much as possible, list the claims in alphabetical order according to the creditor’s name. lf you have more than two priority
unsecured claims, iill out the Continuation Page of Part 1. |f more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

` rotai:eiaiin" § eri'erity y » uan'p`riertty

 

 

 

 

 

. y.arn,'>,w\!>13 , ;;am'°'unt \ i 1 ’
2.1 .
! internal Fievenue Service Last 4 digits of account number 1 8 1 9 $__2.385 $__2.385 $_2.335

Prion'ty Creditor's Name _ _ _ *_

Post Office Box 7346 when was the debt incurred? 2016

Number Street

_ _ As of the date you t”i|e, the claim is: Check all that apply.
Philadeiphia PA 19101 n C t. t
city state ziP code °n 'ngen
_ 7 id unliquidated

Who incurred the debt. Check one, m Disputed

m Debtor1 only

l:l Debtor 2 only Type of PRlOR|TY unsecured claim:

g Debt°r 1 and Debt°r 2 only m Domestic support obligations

At least one offhe debtors and another m Taxes and certain other debts you owe the government
a check 'f th's c|a'm 's for a commumty debt m Claims for death or personal injury while you were
ls the claim subject to offset? 'mox'°ated
No m Other. Specify
n Yes
2.2 ' . .
Last 4 digits of account number _ _ __ _ $ $ $

 

 

Pn`ority Creditor's Name
When was the debt incurred?

 

 

 

Number Slreet
As of the date you file, the claim is: Check all that apply.
a Contingent

city state ziP code [] Uniiquidated

Who incurred the debt? Check one. n Disputed

m Debtor 1 only

Type of PRlOR|TY unsecured claim:
m Debior 2 only

 

 

n Debtor 1 and Debtor 2 only n Domestic support obligations

n At least one of the debtors and another L_.i Taxes and certain other debts you owe the government
m Check if this claim is for a community debt 0 i(:`|g::;;;;death Or personal mlury Wm|e you were

ls the claim subject to offset? n Other. Specify

Cl No

[:l Yes

 

Ofncia| Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page 1 of§

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 28 of 79

Debtor1 Eric Michaei Be||

Fi'.st Name Middle Name Last Name

m Your PRlORIT¥ Unsecured Claims - Continuation Page

Case number iii known)

 

 

 

 

 

';Pti'éritr '

nonptio'rity

 

 

 

 

 

 

 

 

 

 

 

 

n Check if this claim is for a community debt

ls the claim subject to offset?

[] No
lI] Yes

 

Other. Specify

 

 

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total'clalm iv
~ , ~ ' j ,'arrnoi.i_n/t f g ~amount,r; :,
23 ,t , t .
Last 4 digits of account number __ _ _ _ $ $
Priority Creditor`s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
n Contingent
city state ziP code Cl Unliquidated
ij Disputed
Who incurred the debt? Check one.
L_.l Debtor1 only Type of PRlOR|TY unsecured claim:
L_'l Debmr 2 only l;l Domestic support obligations
m Debtor 1 and Debtor 2 only ,
n Taxes and certain other debts you owe the government
L_.l At least one of the debtors and another , . . .
i;] Claims for death or personal injury while you were
i;l Check if this claim is for a community debt 'ntox'cated
n Other. Specify
ls the claim subject to offset?
n No
n Yes
2.4 l
Last 4 digits of account number _ _ _ _ $ $
Priority Creditor's Name
When was the debt incurred?
Number Slreet
As of the date you file, the claim is: Check all that apply.
n Contingent
city state ziP code l:.l Uniiquidated
n Disputed
Who incurred the debt? Check one.
n Debtor1 only Type of PRlOR|TY unsecured claim:
m Debtor 2 only ij Domestic support obligations
m Debtor 1 and Debtor 2 only .
n Taxes and certain other debts you owe the government
[;\ Al least one of the debtors and another . . . .
n Claims for death or personal injury while you were
m Check if this claim is for a community debt 'm°x'cated
[:l Other. Specify
ls the claim subject to offset?
n No
n Yes
2.5 1
Last 4 digits of account number _ _ _ _ $ $
Priority Creditor's Name
When was the debt incurred?
Number Slreet
As of the date you tile, the claim is: Check all that apply.
ij Contingent
city state ziP cede Cl Uniiquidated
i:] Disputed
Who incurred the debt? Check one.
U Debtor 1 only Type of PRlORlTY unsecured claim:
m Debtor 2 only n Domestic support obligations
n Debtor 1 and Debtor 2 only .
n Taxes and certain other debts you owe the government
n At least one of the debtors and another . . . .
n Claims for death or personal injury while you were
intoxicated
Cl

 

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page g of _1_§

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 29 of 79

Debtor1 Eric Michaei Bell

Firsl Name Middle Name Lasl Name

m List All of Your NONPRICRITY Unsecured Claims

Case number (rknnwni

 

Yes

_ claims lill out the Continuation Page of Part 2.

3. Do any creditors have nonpriority unsecured claims against you?

 

 

 

m No. You have nothing to report in this part. Submit this form to the court with your other schedules

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim list the creditor separately for each claim For each claim listed, identify what type of claim it is. Do not list claims already
included' in Part 1 if more than one creditor holds a particular claim, list the other creditors' in Part 3. if you have more than three nonpriority unsecured

 

 

 

 

 

 

 

 

 

Nonpriority Creditor's Name

3640 New Vision Dr. Ste. A

 

 

Number Slreet
Fort Wayne |N 46805
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

m Deblor 2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

m No
n Yes

 

_;§_rfesei;sieitt;e `
American Express Centurion Last 4 digits of account number_l _Q g _9 11 384 92
Nonpricrily Creditor's Name 02/17/201 7 $______’__'__.
4315 S_ 2700 West When was the debt incurred?
Number Street
Sa|t Lake City UT 84184
city State zip code As of the date you file, the claim is: Check all that apply.
a Contingent
Who incurred the debt? Check one. Un|iquidated
m Deblor 1 only m Disputed
n Deblor 2 only
n Debtor1 and Debtor 2 only Type of NONPR|OR|TY unsecured claim:
L_.l At least one of the debtors and another n Studem loans
[] Check if this claim is for a community debt L_.l Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
15 the Claim Subiect t° offset? n Debts to pension or profit-sharing plans, and other similar debts
m N° iii other. specify Credit Card Debt
m Yes
4-2 l Three Fiivers Federal Credit Union Last 4 digits Of account number _6/ 2_4 _2 __§ $_______9’907‘55
Nonpriority Creditor's Name When Was the debt incurred? 07/ 21/20 061
3750 East Dupont Road
Number Street
Fort Wayne |N 46825 As of the date you file, the claim is: Check all that apply.
City State ZlP Code m Contingent
Who incurred the debt? Check one. v Unliquida\ed
m Debtor1 only n D'sputed
ij Debtor 2 only _
['_~l Debtor1 and Debfor 2 only Type of NONPR|OR|TY unsecured claim:
n At least one ot the debtors and another n Student loans
_ c _ _ . m Obligations arising out of a separation agreement or divorce
m Check if this claim is for a community debt that you did not report as pmm-tv claims
ls the claim subject to offset? m Deth to pension or pmm-sharing plans, and other similar debts
w No ii other. specify Ba|ance from car reposession
ij Yes
4.3 ~ . .
l Proiessiona| Emergency Physicians Last4digits of account number _Q _9 __9 _1 $ 990 00

When was the debt incurred? 02/28/2018

As of the date you t'ile, the claim is: Check all that apply.

m Contingent
q uniiquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

l:l Studenl loans

n Obligations arising out of a separation agreement or divorce
that you did nol report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

53 other. specify Medical Bi|l

 

Officia| Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page§_ of ]__9__

 

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Debtor1 Eric~ Michaei Bell

Firsl Name Middle Name Last Name

Case number iii known)

 

m Your NONFR|CR|TY Unsecured Claims - Continuatiori Page

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. §:’Total claim '_
4.4 l
First premier Bank Last4 digits of account number 1 l l i $ 1,106_70
Nonpriority Creditor’s Name
_ wh h d b - 7 02/01/2017
3820 N' Loulse Ave~ en was t e e t incurred
Number Slreet As of the date ou t” le the cla'm 's Ch k ll th t |
. l , l l : ec a a a .
Sloux Fal|s SD 57117 y ppy
City State ZlP Code m Contingent
_ q unliquidated
Who incurred the debt? Check one. ij Disputed
q Debtor1 only
El oeblerz only Type of NoNPRioRlTY unsecured claim:
g Debtor1 and Debtor2 only 0 Student loans
At mask one ofthe debtors and another m Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you md not regan as monty C|.a§ms , _
[;l Debts to pension or profit-sharing plansl and other similar debts
is the claim subject to offset? gi Othe,, Specify Credit Card Debt
d No
E] Yes
45 |
' American E|ecmc Power Last4 digits of account number Q_ _2_ _8_ _4_ $ 3!900.00
Nonpriority Creditor`s Name
When was the debt incurred? 11/01/2016
N O|d State Fld 3 _
Number Street As of the date f'le the cl ‘m ‘s Ch k ll th t l
- oui, all:eca aa .
Avliia lN 46710 y pp y
city slate ziP code El Contingent
_ ll unliquidated
Who incurred the debt? Check one. m Disputed
m Debtor1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only m Smdem loans
At least one ofthe debtors and another a Ob|igalions arising out of a separation agreement or divorce that
El Check if this claim is for a community debt you d'd not repm as p"omy c|,a'ms _ _
m Deth to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? g Oiher, Specify Debe from EleOymel'lt
g No
n Yes
46 l 4,538.50§
Li4d"if ib6414 $_~__~@
Paypa| Credlt as lgi s o accoun num er ____ __ _ _ »
Nonpriority Cieditor's Name
. When was the debt incurred? 03/24/2017
9690 Deereco Ftd. Sulte 110 ”____
Number Slreet A fin d l fl ih l ‘nn' ch l< ll in l l
~ - so eae oule, ecal is: eca aa .
Tlmorllum MD 21093 y ppy
city slate zlP code El contingent
_ U unliquidated
Who incurred the debt? Check one. m Disputed
m Debtor1 only
[:l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
§ Debtor 1 and Debtor 2 only n Studem loans
At least one anne debtors and another l;l Obligations arising out of a separation agreement or divorce that
i:l Check if this claim is for a community debt you md not report as pneer c|,a'ms _ _
m Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? q Other, Specify Unsecured Credit Lil"le
m No
m Yes

 

Officiai Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

page4_ OfE

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 31 of 79

Debtor 1

First Name Middle Name Last Name

Case number (liknewni

 

Your NONFR|ORITY Unsecured Claims - Continuation Page

|_.:‘|

National Student Loan Program

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

Nonpn`ority Creditor's Name

PO Box 82507

 

 

Number Street
Lincoln NE 68501
City State ZlP Code

Who incurred the debt? Check one.

a Debtor 1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

D Check if this claim is for a community debt

ls the claim subject to offset?

g No
m Yes

 

Last 4 digits of account number l 1 § l

$ 2,737.29

When was the debt incurred? 08/20/2017

As of the date you file, the claim is: Check all that apply.

n Contingent
U unliquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts

Other. Specify

UU US~

 

Barc|ays Bank Delaware

 

Nonpriority Creditor's Name

 

 

100 WeSt St

Number Street

Wilmington DE 19801
City State ZlP Code

Who incurred the debt? Check one.

m Debtor 1 only

D Debtor 2 only

m Debtor 1 and Debtor 2 only

n At least one ot the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

g No
n Yes

Last4 digits of account number § l _4_~_ £_

$ 10,630._5.§

When was the debt incurred? 02/01/2017

As of the date you tile, the claim is: Check all that apply.

l:l Contingent
m Unliquidated
0 Disputed

Type of NONPR|OR|T¥ unsecured claim:

n Student loans

[:l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or proHt-sharing plans, and other similar debts

w Other.Specify Credit Cal'd Debt

 

l\/|ichigan State University

 

Nonpn'ority Creditor's Name

166 Service Rd.

 

 

Number Street
East Lansing lVll 48824
City State ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

El check lfinis claim is for a community debt

ls the claim subject to offset?

w No
n Yes

 

$ 1,780.00

Last4 digits of account number _1_ § _1 §
When was the debt incurred? 09/01/2013

As of the date you file, the claim is: Check all that apply.

n Contingent
EZ unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

M Student loans

n Ob|igalions arising out of a separation agreement or divorce that
you did not report as priority claims
m Deth to pension or pront-sharing plans, and other similar debts

m Other. Specify

 

 

Officiai Form 1OGE/F

Schedule ElF: Creditors Who Have Unsecured Claims

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Debtor 1

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Michaei Bell

Middle Name Last Name

Frir‘
Hrst Name

Case number (i/kncwn)

m Your NCNPRlORlTY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

f" After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. :§-}T,otal claim
4.10 - - 6 6 1 7
Mldland Credit Management Last4 digits of account number _ _ _ _ $ 782_73
Nonpriorlty Creditor's Name
. . . When was the debt ` curred'? 02/01/2017
2365 Northside Drive Sulte 300 m _
N be Si t
Sur;nrDlegO fee CA 92108 A$ Of the date you Hle, the claim is: Check all that apply.
City State ZlP Code n Contingent
lZ unliquidated
Who incurred the debt? Check one. n Dlspuled
m Debtor1 only
m Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Sludenlloans
At least one Ofthe debtors and another n Obli ations arisin out of a se aration a reemenl or divorce that
9 9 P 9
ill check if this claim is for a community debt y°“ did "°' 'ep°“ as p'i°r"y °'a"“$
n Deth to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? g Other_ Specify Credit Cal‘d Debt
w No
[:l Yes
li.ii
Mldland Credit Mal,lagement Last4 digits of account number 1 l l l $ 442.46
Nonpriority Creditor's Name
. . . when was thc debt incurred? 05/01/2017
2365 Northside Drive Sulte 300
Numbe' S"ee‘ As fih dal ri th cla'm ‘c ch k ll th t l
- oeeoule,eil:eca aa.
San Dlego CA 92108 y ppy
city stale zlP code El Contingent
l lZ unliquidated
Who incurred the debt? Check one. l:l Dlspuled
q Debtor1 only
Cl Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor 1 and Debtor 2 only n Sludenl loans
At least one of me debtors and another n Obligations arising out of a separation agreement or divorce that
Cl check ifthis claim is for a community debt y°" did "°t 'ep°'t as pri°'“y °'a"“s
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? w Othel_ Spech Credit Card Debt
g No
n Yes
‘*~‘2| 7 1 7 l;12,506.&'§
Capltal One Bank Last4 digits of account number _§_ ___ ___ __
Nonptiorily Creditor's Name
When was the debt incurred? 02/01/2017
PO Box 30285
Number S"ee‘ A ith d t ri ih i ' ‘ ch k il th t l
. so e ae oule, ecalmls: eca aa .
salt Lake City uT 84310 y ppy
City State ZlP Code n Contingent
_ q unliquidated
Who incurred the debt? Check one. n Dlspuled
m Debtor1 only
l:l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
§ Debtor 1 and Debtor 2 only n Sludenl loans
N least cna of the debtors and another m Ob|igations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you did not report as priority claims
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? w Qiher_ Specify Credit Cal'd Debt
m No
n Yes

 

 

Ochia| Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page§_

 

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l

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Debtor1 Eri¢‘ Michaei Bell

First Name Middie Name Last Name

Case number (iikncwn)

g Your NONPR|OR|TY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. ':/Tot`ai claim '
4.13 . . 2 4 7 4
Parkview Health Last 4 digits of account number ___ __ ____ ___ $ 215_79
Nonpriority Creditor's Name
When was the debt incurred? 07/07/2016
PO Box 5600 ___
Number Street
Asfthdt fl,th l":Chklitht |.
Fortwayne |N 46895 o e aeyouie ecaimis eca aappy
City State ZlP Code n Contingent
q unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
l;l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
l;] Debtor1 and Debtor 2 only m S‘udent loans
m At least one of ma debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you did noi iepoii as piioiiiy Ciaims
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? w Other_ specify Medical Blll
g No
l;\ Yes
4.14
Parkview Health Last4 digits of account number _Q_ _2_ l i $ 3!793.39
Nonpriority Creditor's Name
When was the debt incurred? 02/28/2018
PO Box 5600 _
Number Slreet As of the date ou tile the claim is' Check all that a l
Fort Wayne iN 46895 y ’ ' pp y'
City State ZlP Code m Contingent
' g Un|iquidated
Who incurred the debt? Check one. [_”_] Disputed
a Debtor1 only
l;l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor 1 and Debtor 2 only a Student loans
Ai least one of the debtors ana another n Obligations arising out of a separation agreement or divorce that
. . . . . ou did not report as priority claims
n Check if this claim is for a community debt y
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? ij Other_ Specify
a No
n Yes
ml 7 8 5 6 $ 30.33
eBay Last 4 digits of account number _ _ _ __

 

Nonpiiority Creditor's Name

2145 Hamilton Ave.

 

 

Number Street
San Jose CA 95125
City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

El Debtor 2 only

l:.l Debtor 1 and Debtor2 only

l:l At least one ofthe debtors and another

l:l Check if this claim is for a community debt

is the claim subject to offset?

mr No
l;l Yes

 

When was the debt incurred? 2017

As of the date you t”ile, the claim is: Check all that apply.

a Contingent
U unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

l;l Student loans

n Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts
UI olner. specify Sales Fees

 

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

pagez_ of 1

 

 

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Debtor 1

Fiist Name Middie Name Last Name

Case number lirl<ncwnl

 

m Your NONPR|OR|TY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

Oflicial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

~. Total claim
did » Last 4 digits of account number 3 `l 6 5
Frontier _ _ _ _ $ 78.48
Nonpriority Creditor's Name
When was the debt incurred? 09/16/2017
PO Box 740407 m
Number Siieei As of the date ou f'le the cla'm 's Ch k ll th t |
. . . l , i i : ec a a a .
Cincinnatl OH 45274 y pp y
City State ZlP Code m Contingent
w Un|iquidated
Who incurred the debt? Check one. ij Disputed
m Debtor1 only
l;l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n Debtor 1 and Debtor 2 only m Student loans
n At least one °t the debtors and another n Ob|igations arising out of a separation agreement or divorce that
l._.l Check if this claim is for a community debt you did not idadd as piididy cidims _ _
m Deth to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? g Other. Specify ACCOUnf Fee$
m No
n Yes
iii 6 3 2 5
Capital One Bank Last4 digits of account number _ ___ _ _ $ 3,329.83
Nonpriority Creditor's Name
When was the debt incurred?
PO Box 30285
i`iii"ii’ei Siiaa As or the date ou file the laim is- one i< ll that l
salt Lake City uT 84310 y ' ° ' ° a app y'
City State ZlP Code n Contingent
q Un|iquidated
Who incurred the debt? Check one. n Disputed
m Debtor 1 only
n Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only m Student loans
At taast ana °ttiie debtors ana another n Obligations arising out of a separation agreement or divorce that
m Check if this claim is for a community debt you did not idtmd as priority ci_dims , ,
l:.l Debts to pension or proHt-sharlng plans, and other similar debts
ls the claim subject to offset? w Olher_ Specify Credit Card Debt
g No
l:l Yes
418 124,380¢3
i_t4d"f tb1300 $_
Navlent U.S. Dept. ot Education Loan Servicing as 'gits ° a°°°““ '“"" er - -- _ -
Nonpriority Creditor's Name
When was the debt incurred? 05/01/2013
P.O. Box 6935
Number Siieei A fth date ou f'le the claim 's Ch k ll th t l
. soe l, il:ecaaa.
Wllkes-Barre PA 1 8773 y pp y
City State ZlP Code a Contingent
U unliquidated
Who incurred the debt? Check one. a Dispu‘ed
m Debtor1 only
l;] Debtor 2 only Type of NONPR|ORlTY unsecured claim:
g Debtor1 and Debtor2 only g Student loans
At iaast one at the debtors ana another m Obligations arising out of a separation agreement or divorce that
l:l Check if this claim is for a community debt ydd did ndi idadd as priority dididis . .
n Deth to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? a Other_ Specify
mt No
a Yes

 

page§_ of §

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 35 of 79

Debtor1 Frir\ Michaei Bell
First Name Middle Name Last Name

Case number itt known)

Your NONPR|GR|TY Unsecured Claims - Continuation Fage

 

 

Nonpriority Creditor`s Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one4

m Debtor 1 only

n Debtor 2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

is the claim subject to offset?

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. ii'T' tai claim 47 7

Last 4 digits of account number _ ___ ____ ____ $
When was the debt incurred?

As of the date you ti|e, the claim is: Check all that apply.

m Contingent
Cl unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

[:i Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
n Debts to pension or profit-sharing plans, and other similar debts

n Other. Specify

 

 

 

 

 

 

Nonpriority Creditor`s Name

 

Number Slreet

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

m Debtor 2 only

ij Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

[;l No
n Yes

 

n No
n ¥es
4.20
Last 4 digits of account number ___ ____ ___ _ $
Nonpriority Creditor's Name
When was the debt incurred?
N be St t
um i rea As of the date you fi|e, the claim is: Check all that apply.
city state zlP code El contingent
El unliquidated
Who incurred the debt? Check one. m Disputed
m Debtor1 only
l:] Debtor2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only m Student loans
Ai ieasi one of the debtors and another U Obligations arising out of a separation agreementh divorce that
n Check if this claim is for a community debt Y°u did nol felton as priority claims . .
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? E| Other_ Specify
n No
L_.l Yes
4.21
_J t

Last 4 digits of account number _ _
When was the debt incurred?

As of the date you ti|e, the claim is: Check all that apply.

l:] Contingent
Cl unliquidated
g Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Specify

Cll] UEJ

 

Oflicia| Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims page __ of 1

 

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 36 of 79

Debtor1 Fri(‘ MiChBPl Bt-"ll

Fitst Name Middle Name Last Name

Case number lirknuwn)

Your NONPR|QRITY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor's Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

|:l No
m Yes

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. l *"Tota`t cla:lm,»:
4.22
Last 4 digits of account number __ __ ____ ____ $
Nonpriority Creditor`s Name
When was the debt incurred?
N be st t
um i fee As of the date you file, the claim is: Check all that apply.
city slate ziP code l:] Contingent
lIl unliquidated
Who incurred the debt? Check one, m Dlspuled
[] Debtor1 only
L_.l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n Debtor1 and Debtor 2 only n Sludenl loans
n At ieast one of the debtors end an°iher n Obligations arising out of a separation agreement or divorce that
l:l Check if this claim is for a community debt you did noi mem as piioiiiy Cieims . ,
n Deth to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? l:l Other. Specify
n No
m Yes
4,23
Last 4 digits of account number _ _____ _ $
Nonpriority Creditor`s Name
When was the debt incurred?
N b Sl t
um er rea As of the date you file, the claim is: Check all that apply.
city state zlP code C] Contingent
m Un|iquidated
Who incurred the debt? Check one. n Dlspuled
n Debtor1 only
l:l Debtor2 only Type of NONPR|OR|TY unsecured claim:
l:] Debtor 1 and Debtor 2 only n Student loans
m At least one of the debi°r$ and an°iher n Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you did nci ieeoii as priority Ci,aims _ _
n Debls to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? C| Other_ Specify
n No
n Yes
424
$

Last 4 digits of account number _

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
L_.l Un|iquidated
[._.l Disputed

Type of NONPR|ORITV unsecured claim:

n Student loans

m Obligations arising out of a separation agreement or divorce that
you did not repolt as priority claims

n Deth to pension or profit-sharing plans, and other similar debts

l:l Other. Specify

 

Officia| Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

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Case 18-10692-reg Doc 1 Filed 04/23/18 Page 37 of 79

Debtor 1

4.25

First Name Middle Name Last Name

Case number (ir known)

Your NONPR|OR|TY Unsecured Claims - Continuation Page

 

 

Nonpriority Creditor's Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

l:l Debtor1 only

n Debtor 2 only

El Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

D No
n Yes

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply,

n Contingent
El unliquidated
[:l Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obllgalions arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts

Other. Specify

U|J Ell:l

 

 

Nonpriority Creditor's Name

 

Number Slreet

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

i:l Debtor1 and Debtor 2 only

n At least one of the debtors and another

U Check if this claim is for a community debt

ls the claim subject to offset?

0 No
n Yes

Last 4 digits of account number _____

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
n Un|iquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obllgations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Specify

DIJ DU

 

 

 

Nonpriority Creditor's Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

El Debtor2 only

n Debtor 1 and Debtor 2 only

[:l Al least one ot the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

n No
C] Yes

Last 4 digits of account number _ __
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

L_.l Contingent
El unliquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obllgations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or proHt-sharing plans, and other similar debts
Other. Specify

lIlU UU

 

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

 

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Debtor 1 l’-`rir‘ Michaei Bell
First Name Middle Name Last Name

Case number lirknown)

Your NONPR|0R|TY Unsecured Claims - continuation Page

 

 

4.28 l

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. :t;',‘_rotat claim n

Last 4 digits of account number _ _

 

 

 

 

 

 

Nonpriority Creditor's Name

 

Number Slreet

 

City State ZlP Code

Who incurred the debt? Check one.

L_.] Debtor1 only

m Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

m No
El Yes

 

_" _ $
Nonpriority Creditor's Name
When was the debt incurred?
N b St t
um ar faa As of the date you file, the claim is: Check all that apply.
City state zlP code Cl Contingent
C] unliquidated
Who incurred the debt? Check one. n Disputed
m Debtor1 only
D Debtor 2 only Type of NONPR|OR|TY unsecured claim:
cl Debtor1 and Debtor 2 only n Student loans
n Al least one of the debtors and another m Obligations arising out of a separation agreement or divorce that
l:l Check if this claim is for a community debt you aid nai ial_aoii as priority ai_aims _ _
n Debts to pension or proHt-sharlng plans, and other similar debts
ls the claim subject to offset? [;] Other. Specify
n No
n Yes
4.29
Last 4 digits of account number __ ___ _ __ $
Nonpriority Creditor's Name
When was the debt incurred?
Number Street _ _
As of the date you file, the claim is: Check all that apply.
city slate zlP code [j Contingent
Ci unliquidated
Who incurred the debt? Check one. m Disputed
n Debtor1 only
L_.] Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor2 only m Sludenlloans
Ai least one el ihe debtors and anolher m Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you aid not report as piioiiiy aiaims _ 4
l:l Deth to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? n Other_ Specify
a No
m Yes
4.30 [ $

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obligations arising out ot a separation agreement or divorce that
you did not report as priority claims

Debts to pension or pront~sharing plans, and other similar debts
Other. Specify

UU ClU

 

Officia| Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

 

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Debtor 1 Frir‘ Michaei Bt=.]]

Firsl Name Middle Name Last Name

Case number (i/imawn)

Your NONPR|OR|TY Unsecured Claims - Continuation Page

 

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j After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Last 4 digits of account number _ ___

5 ,rdlalieia`ini .

 

 

 

 

 

 

 

Nonpriority Creditor's Name

 

Number Slreet

 

City State ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

m Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

El No
n Yes

 

Last 4 digits of account number _ _
When was the debt incurred?

As of the date you i"ile, the claim is: Check all that apply.

n Contingent
ill unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debls to pension or profit‘sharing plans, and other similar debts
Other. Specify

UU UU

 

Officiai Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

__ “‘~ $
Nonpriority Creditor's Name
When was the debt incurred?
Number Slreet . .
As of the date you file, the claim is: Check all that apply.
city slate zlP code [;l Contingent
Cl unliquidated
Who incurred the debt? Check one. n Disputed
l:l Debtor1 only
L_.l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
m least one of the debtors and another l;l Obligations arising out of a separation agreementh divorce that
n Check if this claim is for a community debt you d'd not report as pnomy C|é'ms y _
n Debts to pension or pront»sharing plans, and other similar debts
ls the claim subject to offset? El other_ specify
m No
n Yes
4.32
Last 4 digits of account number _ _ _ ____ $
Nonpriority Creditor's Name
When was the debt incurred?
Number Slreet _ _
As of the date you file, the claim is: Check all that apply.
Clly State ZlP Code n Contingent
El uniiquidaied
Who incurred the debt? Check one. n Disputed
m Debtor 1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor 1 and Debtor 2 only n Student loans
At least one of the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not report as priority c|_a'm$ g _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? [] Other_ Specify
m No
m Yes
4.33 l
$

page ____ of 1

 

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Debtor 1

Firsl Name Middle Name Last Name

Case number (iri<nawnl

Your NONPR|ORlTY Unsecured Claims - Continuation Page

 

 

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After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. T,otar claim j

 

Nonpriority Creditor's Name

 

Number Slreet

 

City State ZlP Code

Who incurred the debt? Check one.

m Debtor1 only
n Debtor 2 only

 

Last 4 digits of account number ____ ___ ____ _ $
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
L_.l unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

 

 

 

 

 

g Debtor1 and Debtor 2 only ij Student loans
Ar least one °r the debr°rs and arrorrrer n Obligations arising out of a separation agreement or divorce that
El cheek if this claim is for a community debt you d'd r‘°r rer’°rr as pr'°r‘ry °rrr“ms . .
m Deth to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? l:l Other_ Specify
n No
n Yes
435
Last 4 digits of account number ___ ___ __ $
Nonpriority Creditor's Name
When was the debt incurred?
Number Street . .
As of the date you file, the claim is: Check all that app|y,
city stale zlP code l:l Contingent
n iqui ate
_ Cl u i' 'd d
Who incurred the debt? Check one. n Disputed
n Debtor1 only
Cl Debtor 2 only Type of NONPR|ORlTY unsecured claim:
g Debtor1 and Debtor 2 only a Student loans
Ar rea$r °ne °rrhe debr°rs and an°rrrer n Obligations arising out of a separation agreement or divorce that
Cl cheek if this claim is for a community debt y°“ d'd rr°r rer_’°rr as pr‘°r'ry °rrr'ms . .
n Debts to pension or pmm-sharing plans, and other similar debts
ls the claim subject to offset? [;l Other_ Specify
m No
m Yes
4.36 l
$

 

Nonpriority Creditor`s Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor 1 only

cl Debtor 2 only

n Debtor 1 and Debtor 2 only

m At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

n No
Cl Yes

 

Ofncial Form 106E/F

Last 4 digits of account number _ _
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
EJ unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

ill
n Debts to pension or prolit.sharing plans, and other similar debts
El other. specify

 

Schedule E/F: Creditors Who Have Unsecured Claims page _ of1_9_

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Debtor1 Erir~ Michaei Bt=l|
Hrs! Name Middle Name Last Name

Case number tit known)

Your NGNPRlORlTY Unsecured Claims ~ Continuation Page

 

4 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. r >Total claim y

4.37 |

 

 

 

Last 4 digits of account number _ _

 

 

 

 

 

 

Nonpriority Creditor's Name

 

Number Street

 

city state zlP code

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

m No
Cl Yes

 

_ _ $
Nonpriority Creditor's Name
When was the debt incurred?
Number Street _ _
As of the date you file, the claim is: Check all that apply.
City State ZlPCOd€ m Contingent
El unliquidated
Who incurred the debt? Check one. m Disputed
n Debtor1 only
n Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor 1 and Debtor 2 only L'_] Student loans
Ar reasr one or rrre debtors and arrorrrer m Obligations arising out of a separation agreement or divorce that
El check if this claim is for a community debt y°“ d’rr “°r re‘,’°rr as pr'°r'ry °rr’""$ _ _
m Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? [] Other_ Specify
lIl No
m Yes
438
Last 4 digits of account number _ _ _ _ $
Nonpriority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
city slate zlP code |;} Contingent
_ El unliquidated
Who incurred the debt? Check one. n Disputed
n Debtor1 only
l:l Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
Ar reasr one or the debrors and another n Obligations arising out of a separation agreement or divorce that
El check ifthis claim is for a community debt you drd rr°r rer_°°rr as pr'°r'ry °r?rm$ . .
n Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? |___] Other_ Specify
n No
n Yes
4.39 l
$

Last 4 digits of account number _ _
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

l:l Contingent
n Un|iquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Specify

UU UU

 

Officiai Form lOGE/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

 

page _ 0f1_9

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Debtor 1

First Name Mlddle Name Last Name

Case number tir/mcwn)

Your NONFR|OR|TY Unsecured Claims - Continuation page

 

 

t

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor's Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

lI] Debtor1 only

l:l Debtor 2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

[] Check if this claim is for a community debt

is the claim subject to offset?

l:] No
m Yes

 

Last 4 digits of account number _ _
When was the debt incurred?

As of the date you t”ile, the claim is: Check all that apply.

L_.l Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or pmm-sharing plans, and other similar debts
Other. Specify

UD UCI

 

Ofl`lcial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

4.40
Last 4 digits of account number ____ ____ ____ ___ $
Nonpriority Creditor's Name
When was the debt incurred?
Number Slreet _ _
As of the date you file, the claim is: Check all that apply.
city stale zlP code [| Contingent
El unliquidated
Who incurred the debt? Check one. m Disputed
m Debtor1 only
U Debtor 2 only Type of NONPR|OR|TY unsecured claim:
§ Debtor1 and Debtor 2 only m Student loans
Ar reasr one or the debror$ and another n Obligations arising out of a separation agreement or divorce that
l:] Check if this claim is for a community debt you drd nor report as pnomy Cr.arm$ . .
m Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? n Other_ Specify
n No
a Yes
4,41
Last 4 digits of account number ____ __ __ _ $
Nonpriority Creditor's Name
When was the debt incurred?
Number Street _ _
As of the date you file, the claim is: Check all that apply.
City State ZlP Code a Contingent
_ El unliquidated
Who incurred the debt? Check one. m Disputed
n Debtor1 only
l;] Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
Ar reasr one or the debrors and another m Obligations arising out of a separation agreement or divorce that
l:l Check if this claim is for a community debt you drd nor report as prrorrry drums _ _
m Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? [] Other_ Specify
m No
§ El Yes
4.42 l
$

 

Debtor 1 rir‘

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list Name Middle Name

l\/lir‘hapl Rioll

Last Name

Case number (i/known)

List Others to Be Notified About a Debt That You Already Listed

 

t 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed` in Parts 1 or 2 For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor' in Parts 1 or
2, then list the collection agency here. Simi|arly, if you have more than one creditor for any of the debts that you listed' in Parts 1 or 2, list the
additional creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

t
t

§

Al|ied lnternatiorlal Credit Corp.

 

Name

6800 Paragon P|ace

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.15 of (Check one): El Part 1: Creditors with Priority Unsecured Claims

 

 

 

 

 

Number Slreet d Part 2: Creditors with Nonpriority Unsecured Claims

Richmond VA 23230 Last 4 digits of account numberl _§_ _§_ _6_

City State ZlP Code

RGS On which entry in Part 1 or Part 2 did you list the original creditor?

Name

1700 Jay E" Dr Ste 200 Line 4.6 of (Check one): El Part1: Creditors with Priority Unsecured Claims

Number Slreet w Part 2: Creditors with Nonpriority Unsecured
Claims

Richardson TX 75081 Last 4 digits of account number_@_ _i ___1_ __‘_l'_

City State ZlP Code

 

American Coradius international LLC

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

Name
35A Rust Lane Line i@__ of (Check one): l;l Part 1: Creditors with Priority Unsecured Claims
Number Street q Part 2: Creditors with Nonpriority Unsecured
Claims
Boeme TX 78006 Last 4 digits of account number__6_ _A; __l_ l
City State ZlP Code

 

Law Office of David W. Edwards, PC

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
1410 |ndustria| Park Rd Line 4.13 of (Check one): El Part 1: Creditors with Priority Unsecured Claims
Numbe' Sl'eel ij Part 2: Creditors with Nonpriority Unsecured
PO BOX 910 Claims
Parrs TN 38242 Last 4 digits of account number_g _4_ _Z_ l
City State ZlP Code
ARS NaflOl'lal Sel’VlCeS lnC. On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 469046 Line 4-17 of (Check one): l:l Part 1: Creditors with Priority Unsecured Claims
Numbe' S*'eel w Part 2: Creditors with Nonpriority Unsecured
Claims
Escondrdo CA 92046 Last 4 digits of account number_6 _3 _2 _5
City State ZlP Code
Fll'SiSOUrCe Advan'tage, LLC On which entry in Part 1 or Part 2 did you list the original creditor?
Name
205 Bryant WOOdS South Line 4.12 of (Check one): l:l Part 1: Creditors with Priority Unsecured Claims
Numbe' S"ee‘ mr Part 2: Creditors with Nonpriority Unsecured
Claims
Amherst NY 14228 Last 4 digits of account number_8 _7_ _1 _7
City State ZlP Code
brl\'ro;rhsrar Locarron Servrce$’ LLC 0n which entry in Part 1 or Part 2 did you list the original creditor?
am
4285 G€n€$e€ Street Line 4.8 of (Check one): l;l Part1: Creditors with Priority Unsecured Claims
Number Street . , . .
w Part 21 Creditors with Nonpriority Unsecured
Claims
Cheektowa a NY 14225
City g male zip code Last 4 digits of account number£ _9_ l _9

 

 

Officiai Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

pagelz Of §

 

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Debtor 1 rio l\/lir‘bap| Rpll
list Name Middle Name Last Name

Case number (irknowni

 

m List others to Be Notified About a Debt That you Already Listed

 

 

 

 

ERC

Name

PO Box 23870

Number Street

Jacksonvil|e FL 32241
City State ZlP Code

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, ifa collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Simi|arly, if you*have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. lf you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

On which entry in Part1 or Part 2 did you list the original creditor?

Line 4.8 of (Check one): l;l Part 1: Creditors with Priority Unsecured Claims
g Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number§_ _9_ __‘1_ ___9_

 

First Co||ection Services

 

 

 

 

Name

10925 Otter Creek E Blvd

Number Street

l\/labe|vil|e AR 72103
City State ZlP Code

On which entry in Part1 or Part 2 did you list the original creditor?

Line 4.5 of (Check one): l:l Part 1 : Creditors with Priority Unsecured Claims

w Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number_O_ _2_ _§_ __fl’_

 

Centra| Credit Services LLC

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
955() Regency Square B|Vd_ Suth 500 Line 4.4 of (Check one): El Part1: Creditors with Priority Unsecured Claims
Number S""e‘ g Part 2: Creditors with Nonpriority Unsecured
Claims
Jacksonv"re FL 32225 Last 4 digits of account number_O _5 _7 _4
City State ZlP Code
LlOyd & l\/lCDal'llel, PLC On which entry irl Part 1 or Part 2 did you list the original creditor?
Name
P_O. Box 23200 Line 4.1 of (Check one): l;] Part 1: Creditors with Priority Unsecured Claims
Number Slreet g Part 2: Creditors with Nonpriority Unsecured
Claims
rj~O'SVr"e KY 40223 Last 4 digits of account number_1 _O _O _6
City State ZlP Code
Bl'adfOl'd LaW OfflCe On which entry in Part 1 or Part 2 did you list the original creditor?
Name
127 West Berry Street Sulte 100 Line 4.2 of (chec/< one): El Part i; Creditors with Priority unsecured claims
Number S"ee’ M Part 2; Creditors with Nonpriority Unsecured
Claims
Fort Wayne rN 46802 Last 4 digits of account number__e_ _‘£ __2_ __6_
city stale zlP code
Stel'lgef & Stel'lgel' On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2618 East Paer Ave SE Line 4.12 of (Check one): l;l Part 11 Creditors with Priority Unsecured Claims
Numbe' Streer w Part 21 Creditors with Nonpriority Unsecured
Claims
Grand Rapids Mr 46805 Last 4 digits of account number_8 _7 _1 _7
City State ZlP Code
Name On which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): l:l Part 1: Creditors with Priority Unsecured Claims
Number Street _ _
n Part 2: Creditors with Nonpriority Unsecured
Claims
City State zlP code Last 4 digits of account number _ _ _ ___

 

 

OfEcial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page1__8_ of 12

 

Debtor 1

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rir~ l\/|ir‘hnpl Ro|l

irsi N'ame Middie Name Last Name

Case number (ili<nnwn)

m List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

2, then list the collection agency here. Simi|arly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the

§
§ example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
§

additional creditors here. if you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

On which entry in Part1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): [:l Part 1: Creditors with Priority Unsecured Claims
Number S"ee' Cl Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number_ _ _ _
City State ZlP Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): l:l Part 1: Creditors with Priority Unsecured Claims
N“"‘be' Street l:l Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _
City State ZlP Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims
Number S"ee' l;l Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _
City State ZlP Code
On which entry in Part1 or Part 2 did you list the original creditor?
Name
Line of (Check one): n Part 11 Creditors with Priority Unsecured Claims
Number Stree‘ El Part 2: Creditors with Nonpriority Unsecured
Claims
_ Last 4 digits of account number __ _ __
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): l:\ Part 1: Creditors with Priority Unsecured Claims
Number S"eel n Part 2: Creditors with Nonpriority Unsecured
Claims
Fort Wayne !N 46802 Last 4 digits of account number___ _ _
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): E] Part 1: Creditors with Priority Unsecured Claims
Number S"ee' ij Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number __ __ ____
City State ZlP Code
Name 0n which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): n Part 1: Creditors with Priority Unsecured Claims
Number Street . . . ,
Cl Part 21 Creditors with Nonpriority Unsecured
Claims
C“y State zlP Code Last 4 digits of account number _ _ _

 

Ofncial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

page __ of __

Debtor 1

Add the Amounts for Each Type of Unsecured €Iaim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Frir~

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Michaei Bell

Firsl Name Middle Name Last Name

Case number (iri<nowni

 

 

 

 

 

 

 

 

 

 

Total claim
' T°t`a| claims 6a Domestic support obligations 6a. $ 0,00
5 from Part1 6b. Taxes and certain other debts you owe the
` government 6b. $ 2,385.00
60. Claims for death or personal injury while you were
intoxicated 6c. $ 0,00
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. + $ ()_O()
Ge. Total. Add lines 63 throu h 6d. Ge.
9 3 2,385.00
Total claim
Total claims 6i. Student loans 6f. $ 128,897_29
g from Part 2 69. Obligations arising out ofa separation agreement
` or divorce that you did not report as priority 0 00
claims 69. $ '
6h. Debts to pension or profit-sharing plans, and other
similar debts 6b. $ 0.00
Si. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6i. + 5 54,268-13
61. Tota|. Add lines 6f through 6i. 61. $ 183’165-42
' . - - 19 19
Officia| Form 106E/F Sch§%Hév%£l§b“§é%gig?§gléh‘pm%a& g£§e;gruqred Claims page __ of _

Debtor 1

Eric

Hist Name

Michaei Bell

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Last Name

- Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

 

Name

 

Number

Street

 

City

State

ZlP Code

Case number (ukmwn)

What the contract or lease is for

 

 

Name

 

Number

Street

 

city

State

ZlP Code

 

1!~>
1~__

 

Name

 

Number

Street

 

City

State

ZlP Code

 

' !\’

 

Name

 

Number

Street

 

city

State

ZlP Code

 

 

 

Name

 

Number

Street

 

city

State

ZlP Code

 

 

Name

 

Number

Street

 

city

State

ZlP Code

 

 

Name

 

Number

Street

 

city

State

ZlP Code

 

 

 

Name

 

Number

Street

 

City

State

ZlP Code

 

Officia| Form 1066

Schedule G: Executory Contracts and Unexpired Leases

page __ of ___

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Fill in this information to identify your case:

 

 

 

Debtor 1 Eric Michaei Bell

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) Firsl Name Midd|e Name Last Name

United States Bankruptcy Court for ther Northel'n District Of indiana

Case number
(|f known)

 

 

El cheek if this is en
amended filing

Officiai Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. |f more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additiona| Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)

m No
n Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Te)<as, Washington, and Wisconsin.)

mr No. Go to line 3.
a Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

UNo

m Yes. ln which community state or territory did you |ive? . Fill in the name and current address of that person.

 

Name of your spousel former spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 1060), Schedule E/F (Official Form 106ElF), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to Hll out Co|umn 2.

Column 1.' Your codebtor ~ Column 2.' The creditor to whom you owe the debt

Check all schedules that apply:

ali

 

El schedule D, line _____

 

 

 

 

 

 

 

 

 

 

Name
El schedule E/F, line
N“"“’e' S"ee‘ 121 schedule G, line
City State ZlP Code
3.2|
13 schedule D, line
Name ____
iii schedule E/F, line
N“'“°e' S"e"‘ El schedule c, line
City State ZlP Code
3.3|
Cl Schedule D, line
Name ___-
El schedule E/l=, line
N“"‘"e' S"ee‘ Cl schedule c, line
City State ZlP Code

 

 

 

 

Offlcial Form 106H Schedule H: Your Codebtors page 1 of _

Debtor 1 Eric

First Name

- Additiona| Page to List More Codebtors

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 49 of 79

Michaei Bell

Middle Name Last Name

Case number (ifkncwn)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2.' The creditor to whom you owe the debt
:] Check all schedules that apply:
3._
El schedule D, line
Name
lZl schedule E/l=, line
Number street 13 Schedule G, line
City State zlP code
el
El schedule D, line
Name
El schedule E/F, line
Number Street n Schedule G, line
, City stale zlP cede
3_‘-1
E.l schedule D, line
Name
El schedule E/F, line
Number street n Schedule G, line
City State ZlP Code
3~_~1
[:] Schedule D, line
Name
E] schedule E/l=, line
Number Street m Schedule G, line
:L| City State ZlP Code
Cl schedule D, line
Name
Cl Schedule E/F, line
Number Street m Schedule G, line
City State ZlP Code
ij El schedule D, line
Name
E] schedule E/F, line
Number street n Schedule G, line
city state zlP code
3;|
El schedule D, line
Name
El schedule E/F, line
Number street 13 Schedule G, line
City State ZlP Code
ed
L_.] Schedule D, line
Name ---_
El schedule E/F, line
Number Street m Schedule G, line
City stale zlP code

 

Officiai Form 106H

Schedule H: Your Codebtors

page _ of _

 

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 50 of 79

Fill in this information to identify your case:

Debtor1 Frit~ Michaei Flpll

First Na me Middle Name Last Name

Debtor 2
(Spouse, if ii|ing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: NOl'ih€l'n Distrin Of indiana

Case number CheCi< if this iSZ
(ll known)
n An amended filing

i:i A supplement showing postpetition chapter 13
income as of the following date:

folClai FOl`l'Tl 1061 m

Schedule l: Your lncome wis
Be as complete and accurate as possible. lf two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. |f you are married and not filing joint|y, and your spouse is living with you, include information about your spouse,

lf you are separated and your spouse is not filing with you, do not include information about your spouse, if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Employment

1. Fill in your employment

 

 

 

 

Debtor 1 ~ Debtor 2 or non-filing spouse

 

 

information.
lf you have more than one job,
attach a separate page with m
information about additional Employment status Employed m Employed
employers n Not employed m Not employed
include part-time, seasona|, or
self-em lo ed work. .

p y Occupation Substttute Teacher
Occupation may include student
or homemaker, if it applies

Empioyer's name East Allen County Schools

 

Employer’s address 1240 State Road 930 East

 

 

 

 

Number Street Number Street
New Haven lN 46774
City State ZlP Code City State ZlP Code

How long employed there? 2 Weeks

m Give Details About Monthly lncome

Estimate monthly income as of the date you file this form. |f you have nothing to report for any line, write $0 in the space. lnc|ude your non-filing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. lf you need more space, attach a separate sheet to this form.

 

For Debtor 'l For Debtor 2 or
non-Filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

 

 

deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 1 600_00 $
3. Estimate and list monthly overtime pay. 3. + $ + $
4. Calcu|ate gross income. Add line 2 + line 3. 4. $ 1500-00 $ O-OO

 

 

 

 

 

 

Official Form 106| Schedule l: Your lncome page 1

 

 

OfHCia| Form 106|

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13. Do you expect an increase or decrease within the year after you file this form?

l;l No.

 

 

 

 

Debtor1 Eric NliChael Bell Case number tirkndwn)
FirslName Middle Name Last Name
For Debtor 1 For Debtor 2 or
nog~filing §gog§g §
Copy line 4 here ............................................................................................... ') 4. $ 1,600-00 $ 0-00
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 173.60 $
5b. Mandatory contributions for retirement plans 5b. $ $
5c. Voluntary contributions for retirement plans 5c. $ $
Sd, Required repayments of retirement fund loans 5d. $ $
5e. insurance 5e. $ $
5f. Domestic support obligations 5f. $ $
59. Union dues 59. $ $
5h. Other deductions. Specify: 5h. $ + $
e. Add the payroll deductions Add lines 53 + 5b + 5c + 5d + se +5f + 59 + 5h. 6. $ 173.60 $ 0.00
7. Calcu|ate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 1 1426-40 $ O-OO
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 775 00 $
monthly net income. 8a. ___"_"
8b. interest and dividends 8b. $ $
80. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
lnclude alimony, spousal support, child support, maintenance, divorce $ $
settlement, and property settlement Sc.
8d. Unemp|oyment compensation 8d. $ $
8e. Social Security 8e. $ $ §
8f. Other government assistance that you regularly receive §
lnc|ude cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (beneflts under the Supplementa|
Nutrition Assistance Program) or housing subsidies
Specify: 8f. $ $
89. Pension or retirement income 89. $ $
Sh. Other monthly income. Specify: 8b. + $ + $
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h. 9. $ 775.00 $ 0.00
iO.CalCUlafe monthly lncome. Add line 7 + line 9. 2 201 40 0 00 _ 2 201 40
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-ming spouse, 10. $--~'-~'_ $ ' _ $ ' `
11. State all other regular contributions to the expenses that you list in Schedule J.
lnc|ude contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J. §
§ specify; 11. + $
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 2 20
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. $__.___’M
Combined

monthly income

 

m Yes. Explain; Searching for new employment with a higher rate of pay.

 

 

 

Schedule l: Your lncome

page 2

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 52 of 79

Fill in this information to identify your case:

Debtor1 Eric Michaei Bell Check if this is:

Hrsl Name Middle Name Last Name

Debtor2 n An amended nlan

(SpOuSe, if l`llil'lg) FirslName Middle Name Last Name
l:.l A supplement showing postpetition chapter 13
united States Bankruptcy Court forlhe: Northern District of indiana expenses as Of the following data

 

Case number MM / DD/ YYYY
(|fknown)

 

 

 

Officiai Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. lf two married people are Hling together, both are equally responsible for supplying correct
information. |f more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe ¥our Household

1. ls this a joint case?

 

 

m No. Go to line 2.
El Yes. Does Debtor 2 live in a separate household?

n No
n Yes. Debtor 2 must me Ofncia| Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

 

 

2. Do you have dependents? E| No _
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and ml Yes. Fill out this information for Debtor 1 or Debtor 2 age f with you?
Debtor 2. each dependent .......................... ` n
. ' N
Do not state the dependents’ Ch|ld 3 § w 0
names. Yes
l;l No
m Yes
n No
n Yes
0 No
l:l Yes
m No
l:] Yes
3. Do your expenses include g No

expenses of people other than m
yourself and your dependents? Yes

m Estimate Your Ongoing Month|y Expenses

' Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

lnc|ude expenses paid for with non~cash government assistance if you know the value of
such assistance and have included it on Schedule l: your lncome (Official Form 106l.) Y°Ul’ expenses

 

4. The rental or home ownership expenses for your residence. lnc|ude flrst mortgage payments and 737 00
any rent for the ground or lot. 4. '

|f not included in line 4:

4a Real estate taxes 4a. $

4b. Property, homeowner’s, or renter’s insurance 4b. $

4c. Home maintenance repair, and upkeep expenses 4c. $ 25.00
$

4d. Homeowner's association or condominium dues 4d.

Officiai Form 106J Schedule J: Your Expenses page 1

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 53 of 79

 

 

 

 

 

 

 

Case number (llknown)

 

Debtor1 Eric Michaei Bell
FirslName Middle Name LastName
5. Additiona| mortgage payments for your residence, such as home equity loans
6. Utilities:
Ga. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, lnternet, satellite, and cable services
Sd. Other. Specify:
7. Food and housekeeping supplies
8. Childcare and children’s education costs
9. C|othing, laundry, and dry cleaning
10. Personal care products and services
11. Medical and dental expenses
12. Transportation. lnc|ude gas, maintenance, bus or train fare.
Do not include car payments
13. Entertainment, clubs, recreation, newspapers, magazines, and books
14. Charitable contributions and religious donations
15. |nsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance
15b. Health insurance
150. Vehicle insurance
15d. Other insurance Specify:
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:
17. installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:
18, Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, your lncome (Official Form 1061).
19. Other payments you make to support others who do not live with you.
Specify:
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b_ Real estate taxes

20c. Property, homeowner’s, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Offlcia| Form 106J Schedule J: Your Expenses

§ Z(le.

6a.
6b.
Sc.
6d.

10.
11.

12.

13.
14.

15a.
15b.
15c.
15d.

17a.

17b.

17C.

17d.

18.

19.

20a.

20b.

20c.
20d.

 

Your expenses

$

$ 200.00
$ 100.00
$ 45.00
$

$ 200.00
$

$ 10.00
$ 10.00
$

3 60.00
$ 50.00
$

$

$

$ 100.00
$

$

$

$

$

$

$ 400.00
$

$

$

$

$

$

page 2

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 54 of 79

Debtor1 Eric Michael Bell
Hrsl Name Middle Name Last Name

 

:21. Other. Specify:

22. Calcu|ate your monthly expenses.
223. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Officiai Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses

23. Calcu|ate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule l.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

Case number (ln<nawn)

21.

22a.

22b.

220.

23a.

23b.

230.

_24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modiflcation to the terms of your mortgage?

a No.

 

 

 

 

 

 

+$
$ 1,937.00
$

$ 1,937.00
$ 2,201.40
_$ 1,937.00
$ 264.40

 

 

 

m Yes. Explain here: Filing with the courts to reduce my child support payments based upon my current income.

 

 

Officiai Form 106J Schedule J: Your Expenses

page 3

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 55 of 79

Fill in this information to identify your case:

Debtor1 Eric Michaei Bell

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Mlddle Name Last Name

 

United States Bankruptcy Court for the: Northern District of indiana

Case number
(|f known)

 

El check lflhls is an
amended filing

 

 

Official Form 106Dec
Declaration_ About an individual Debtor’s Schedules ms

 

 

lf two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in t“lnes up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sig n Bel°w

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

MNO

m Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Dec/aration, and
Signature (Official Form 119).

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

xQ/F/ x

 

 

y
Signature of Debtor 1 Signature of Debtor 2
Date 0 k/,! 242 Z£OZB Date
MM/ DD/YYYY MMlDD/YYYY

 

Offlcial Form 106Dec Declaration About an individual Debtor’s Schedu|es

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 56 of 79

Fill in this information to identify your case:

oeblor 1 Eric Michaei BeJl

Firsl Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Lasl Name

 

United States Bankruptcy Court for the: Northern District Oi Indiana

Case number _ _ _
(lll<nown) m Check lf thls ls an

amended filing

 

 

 

Officiai Form 107
Statement of Financial Affairs for lndividuals Filing for Bankruptcy 04/16
Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct

information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

m Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

n Married
m Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

l:]No

m Yes. List ali ofthe places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

       

 

 

 

 

 

 

; Debtor 1: Dates Debtor1 Debtor 2: y Dates Debtor 2
lived there ~ lived there
§ 13 Same as Debtor 1 n Same as Debtor 1
' 1518 LanSders Court From 05/2013 From
Number ireet Number Street
To 04/2016 To
§ Fort Wayne lN 46815
': City State ZlP Code City State ZlP Code
n Same as Debtor 1 m Same as Debtor 1
From From
Number Street Number Street
To To
City State ZlP Code City State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
§ states and territories include Arizona, California, ldaho, Louisiana, Nevada, New i\/iexico, Puerto Rico, Texas, Washington, and Wisconsin.)

mNo

n Yes. Make sure you till out Schedule H: Your Codebtors (Ofl`lcial Form 106H).

W Explain the Sources of Your lncome

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

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Debtor1 Case number (in<nown)
First Name

Middle Name Last Name

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?

Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

m No
12 Yes. Fill in the details

 

Sources of income

Gross income

Sources of income

Gross income

 

 

 

Check all that apply. (before deductions and Check all that apply. (before deductions and
exclusions) exclusions)
- m Wages, commissions n Wages, commissions
From January 1 of current year until _ $ 6 931 .OO . $
_ bonuses, tlps ____’_ bonuses, tips
the date you filed for bankruptcy.
a Operating a business n Operaiing a business
. g Wages, commissions, n Wages, commissions,
F°r last calendar yeah bonuses, tips $ 21 ,542.00 bonuses, tips $
(January 1 to December 31120_1_;) m Operating a business m Operaiing a business
For the calendar year before that: w :Vages' C?_mmissi°"$' m :Vages' C‘:,mmissi°"$' §
Ol`il.iSeS, lpS $ 57’3-1700 Ol`lUSeS, ip$ $

(January 1 fO December 3112016_ __ ____) n Operating a business
YYYY

n Operating a business

 

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxab|e. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benth payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

Cl No
C] Yes. Fill in the details

 

Sources of income
Describe below.

Gross income from
each source

(before deductions and

Gross income from
each source

(before deductions and

Sources of income
Describe below.

 

 

 

 

 

 

 

     

exclusions) exciuslons)
. Bent .

From January 1 of current year untl| $____M /
the date you filed for bankruptcy: §
For last calendar year: Rent $ 5’600`00

(January1 to December 31 ,201 7 )

YYYv
For the calendar year before that: $ $

 

(January 1 to December 31,2017 )
YYYY

 

     

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 2

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Debtor1 Eric Michaei Bell Case number (ifknawn)

Firsl Name Middle Name Last Name

m List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
|;l No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

m No. Go to line 7.

m Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and aiimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

m Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you Hled for bankruptcy, did you pay any creditor a total of $600 or more?

El No. soto line 7.

w Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment
Fiuoff Home Mortgage 04/03/2018 3 2,948.00 $ 0.00 m Mongage
Creditofs Name
m Car
PO Box 77404
m Credit card

Number Street

0 Loan repayment

 

C] Suppliers or vendors

 

 

 

 

Ewing NJ 08628
city stale zlP code L_.l other
$ $ n Morlgage
Creditor's Name
n Car
Cl credit card

 

Number Slreet

m Loan repayment

 

m Suppliers or vendors

 

 

 

 

 

City slate zlP code |;l Other
$ $ n Mortgage
Creditor's Name
m Car

n Credit card

 

Number Street

a Loan repayment

 

m Suppliers or vendors

n Other

 

City State ZlP Code

 

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

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Debtor 1 El'iC Michaei Bell Case number (i/l<nown)

 

Hrsl Name Middle Name Last Name

 

§ 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
‘ insiders include your reiatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S,C. § 101. include payments for domestic support obligations,
such as child support and alimony,

MNO

n Yes. List all payments to an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
insider's Name
Number Slreet
City State ZlP Code
$ $

 

lnsider‘s Name

 

Number Street

 

 

City State ZlP Code

 

 

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
§ an insider?
include payments on debts guaranteed or cosigned by an insider.

MNo

m Yes. List all payments that benefited an insider.

 

 

 

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
~ payment paid owe include creditors name
§ inside)’s Name $ $
§ Number Street
city slate zlP code
z $ $

 

lnsider's Name

 

Number Street

 

 

 

Ofncia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

 

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Debtor1 Erir‘ Michaei Bell Case number lirknawn)

Firsl Name Middie Name Last Name

identify Legal Actions, Repossessions, and Foreclosures

 

; 9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action, or administrative proceeding? v
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, §
: and contract disputes.

z n No
U Yes. Fill in the details

 

 

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
. 02d02-1712-CC-00277 A|ien Su eriOl' Court

Case""€_________.__________Three R'Vers Federal (d Co|lection for remaining courtname p n Pe"di"g
. . . baial'iC€ Oi iOal`l iOl' 2012 n On appeal
Unlon v. Erlc Michaei Bell . 715 S. Calhoun St Fioom 201
§ Chevro‘et V§lt’ v;h‘e?dwas Number Slreet m Concluded
§ l'e OSS€SS€ an SO .

Case number 02d02`1712`0c`0@§ p FOi`t Wayne lN 46802

city stale zlP code
. 02D01-1712-CC-002767 Allen Superj()r Court _

t Case"“e______________Ame"Can Express Cerd Col|ection for credit card coin Name m Pe"d‘"g
Bank V- EriC l\/l Bell debt balance‘ 715 s. Calhoun st noom 201 m °" appea'
’ Number Slreet w Conc|uded
ease numbe, 02D01-1712-CC-0l § Fort Wayne ll\l 46802
2 city state zlP code

 

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or |evied?
Check all that apply and fill in the details below.

a No. Go to line 11.
51 Yes. Fill in the information below.

Describe the property Date Value of the property

_ _ 2012 Chevrolet volt
Three Rlvers Federal Credit Unlon

Creditor's Name i

2750 East DuPont Road

Number street Explain what happened

 

§06/01/2017 $ 19,000.00

 

 

w Property was repossessed.
n Property was foreclosed

 

 

 

§ Fort V\/Hyne |N 46825 a Property was garnished.
§ city stale zlP code a Property was attached, seized, or ievied.

 

Describe the property Date Value of the property

 

Creditor's Name

 

Number Slree\ , ,. ,_ ..
Explain what happened

Property was repossessed.

 

Property was foreclosed
Property was garnished.

 

City State ZlP Code

|JUUD

 

Property was attached, seized, or levied.

 

Oficia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

Case 18-10692-reg Doc 1 Filed 04/23/18 Page 61 of 79

Debtor 1 Frip Michael Bell Case number (ilkm>wn)
Firsl Name Middle Name Lasl Name

§ 11. Within 90 days before you Eled for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
f accounts or refuse to make a payment because you owed a debt?

MNQ

El Yes. Fiii in the details

Describe the action the creditor took f Date action Amount
was taken

 

 

Creditor's Name

 

Number Slreet

 

 

 

 

City State ZlP Code Last 4 digits of account number: XXXX~_

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another oft"icial?

M No
m Yes

m List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

MNo

m Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts § Dates you gave Value

 

 

 

 

 

 

 

per person the gifts
f $
Person to Whom You Gave the Gift
§ $
Number Street
: City State ZlP Code
; Person's relationship to you
Glfts with a total value of more than $600 Describe the gifts Dates you gave Value
Pe\’PBl’S°n . ..,........ fhegm$
$
§ Person to Whom You Gave the Gift

$

 

 

 

Number Slreet

 

City State Z|P Code

 

Person’s relationship to you

 

 

Of&cial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

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Debtor 1 EriC Michaei Bell Case number (irknawni

Firsl Name Middle Name Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

mNo

n Yes. Fili in the details for each gift or contribution

Gifts or contributions to charities Describe what you contributed Date you Va|ue
that total more than $600 contributed

 

   

 

Charity's Name

 

 

Number Street

 

 

City State ZlP Code

List Certain Losses

: 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

MNo

§ El Yes. i=iii inihe detaiis.

 

 

 

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred _ _ , _ _ loss lost
§ include the amount that lnsurance has paid. List pending lnsurance

claims on line 33 of Schedule A/B: Property.

 

 

 

 

 

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition‘?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

mNo

Cl Yes. Fiii in the deraiis.

Description and value of any property transferred ' Date payment or Amount of payment

 

 

 

 

 

transfer was
Person Who Was Paid o m ~., _14, made
Number Street $
$

 

 

City State ZlP Code

 

Email or website address

 

 

Person Who Made the Payment, if Nol You

 

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 

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Debtor1 F-'rir\ Michaei Bell Case number (irknawni
Hrsl Name Middle Name Last Name

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made t payment

 

 

 

 

Person Who Was Paid

 

Number Street

 

 

City State ZlP Code

 

Email or website address

 

 

Person th Made the Payment, if Not You

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNQ

El Yes. Fiii in the details

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
§ l made
Person Who Was Paid § t
t
i
Number Street 1 $
f
$

 

city state ziP code §

 

 

§ 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
§ transferred in the ordinary course of your business or financial affairs?

lnc|ude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).

Do not include gifts and transfers that you have already listed on this statement.

M No
n Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

f i

Person Who Received Transfer t

 

Number Slreet

 

t
t
i
t
i
i
z
t

i

 

City State ZlP Code

 

Person's relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

 

 

;' city state ziP code

1 Person's relationship to you
t

thcial Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 8

 

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Debtor 1 Erit’: Michaei Bell Case number (irknown)
First Name Middle Name Last Name

: 19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
` are a beneficiary? (These are often called asset-protection devices.)

MNO

E] Yes. Fill in the details

Description and value of the property transferred Date transfer
/' was made

 

Name of trust

 

 

 

List Certain Flnanclal Accounts, lnstruments, Safe Deposit Boxes, and Storago Unlts

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
lnc|ude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

n No
13 ves. Fiii in the detaiis.

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
3 Ftivers Federal Credit Union
Name of Flnanclal lnstltut|on x_ 6 _’ l 31 w Checking 06/()1/2017 $ 0.00
1 130 East State Blvd M .
Number Street Savmgs

 

a Money market

 

 

 

 

 

Fort Wayne iN 46805 El stowage
City State ZlP Code n other
XXXX_ n Checking $
Name of Financial institution _ _ _ _ w
n Savings
Number Street n Money market

n Brokerage
46805 L_.l other_

City State ZlP Code

 

 

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
m No
cl Yes. Fill in the details.

Who else had access to it? Describe the contents Do you still
have it?

cl No
n Yes

 

 

 

 

Name of Financial institution Name

 

 

Number Slreet Number Street

 

 

City State ZlF Code

 

 

 

 

City State ZlP Code

 

Officiai Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 9

 

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Debtor 1 El'iC Michaei BG" Case number (irknown)

First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
El Yes. Fill in the details

     

 

Who else has or had access to it? Describe the contents Do you still
have it?
El No
Name of Storage Facillty Name a Yes

t t

 

Number Street Number Street

 

CltyState ZlP Code

 

 

¢i!\lw c , §,\?*£… §'R_§?§$..,

ldentlfy Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? lnclude any property you borrowed from, are storing for,
or hold in trust for someone.
w No
E| Yes. Fill in the details.
Where is the property? Describe the property Value

 

Owner‘s Name

 

` Street
Number Street

 

 

 

 

Clty State ZlP Code

 

City State ZlF Code

m Give Detalls About Environmental lnformatlon

For the purpose of Part 10, the following definitions apply:

 

l Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materia|.

: ll Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

n Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materia|, pollutant, contaminant, or similar term.

 

z Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

mNo

Cl Yes. Fill in the details.

 

   

 

 

Governmental unit Environmental law, if you know it Date of notice
: Name of site Govemmental unit
Number Street Number Street

 

City State ZlP Code

 

 

 

City State ZlP Code

Ochial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

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Debtor 1 Frir Michaei Bell

First Name Middle Name Lasl Name

25. Have you notified any governmental unit of any release of hazardous material?

q No
Cl Yes. Fill in the details.
Govemmental unit

 

 

Case number tirkndwn)

Environmental law, if you know it

Date of notice

  

 

 

 

Name of site Govemmental unit
Number Street Number Street
Clty State ZlP Code

 

City State ZlP Code

 

mNo

Cl Yes. Fill in the details

 

 

26.Have you been a party in anyjudicial or administrative proceeding under any environmental |aw? lnc|ude settlements and orders.

z Court or agency Nature of the case Status of me
_ j case
Case title n _
: Court Name pending
_ n On appeal
Number Street m Conc|uded
ease number city state zlP code

t

m Give Dotails About Your Business or connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
/ n A sole proprietor or se|f»employed in a trade, profession, or other activity, either full-time or part-time

n A member of a limited liability company (LLC) or limited liability partnership (LLP)
n A partner in a partnership
n An officer, director, or managing executive of a corporation

n An owner of at least 5% of the voting or equity securities of a corporation
g No. None of the above applies. Go to Part 12.

cl Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business

 

 

Business Name

 

Number Street /_ c ., _, v _ ,_ c,
Name of accountant or bookkeeper

 

 

 

t.,.§itv,,t .t ,. State z!P C°de
Describe the nature ofthe business

 

Business Name

 

 

 

Number Street
Name of accountant or bookkeeper

 

 

 

l

 

City State ZlP Code

Officiai Form 107

 

Statement of Financial Affairs for individuals Filing for Bankruptcy

Empioyer identification number
Do not include Social Security number or lTlN.

E|N: -

Dates business existed

From _________ To
Enzpt°y.;riat§ititi¢ati;mi§.}.iit.;i " `

Do not include Social Security number or lTIN.

ElN: -

Dates business existed

From To

 

 

Debtor 1 ' ` Case number (i/l<nown)

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Firsl Name Middle Name Last Name

Employer ldentitication number
Do not include Social Security number or lTlN,

Describe the nature of the business

 

 

 

 

 

 

 

Business Name
E\NZ - _ _ _ __ _
i,
N . .
umb°' s"°°' Name of accountant or bookkeeper Dates business existed
From To
City State ZIF Code

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial

 

institutions, creditors, or other parties.

MNo

Cl Yes. Fill in the details below.

Date issued

 

Name m

 

Number Street

 

 

City State ZlP Code

m sign Bel°w

l have read the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x / x

Signature of Debtor1 Signature of Debtor 2

@t/Zz/w/@

Did you attach additional pages to Your Statement of Financial Affairs for lndividuals Filing for Bankruptcy (Official Form 107)?

n No
M Yes

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
M No

n Yes. Name of person . Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (thcial Form 119).

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

 

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Fill in this information to identify your case:

Debtor1 _Erit‘ Michaei Bell

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) Firsl Name Middle Name LastName

 

United States Bankruptcy Court for the: Northern District of indiana
Case number El check ii this is an
<lrkndwn) amended filing

 

 

 

Officiai Form 108
Statement of intention for individuals Filing Under Chapter 7 12/15

 

lf you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
if two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

m List Your Creditors Who Have Secured Claims

 

j 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1060), fill in the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property l
§ ` ~ secures a debt? as exempt on Schedule C? ,

Creditor's
name: Ruoh¢ Home Monga n Surrender the property. m No

   

§ § § " n Retain the property and redeem it. M Yes
: E;spc;:_:)yuon Of Personal home located at 1006 Lake w Retain the property and enter into a
Avenue FOl'f Wayne, lN 46805 Reaffirmation Agreement.

: securing debt:
(' m Retain the property and [explain]:

 

 

Cred'to"'$ C] Surrender the property, n No
: name:
§ ~…. _t,,.\» .v …,s\x……. .».N .… t….. …»t. tt,»..t,.,.tt,. . t, ,,`…,i .… , ,...,`. _,A_. , t , .' .~ m Retain the property and redeem it. n Yes
Description of
§ property
§ securing debt:
L_.] Retain the property and [explain]:

[;] Retain the property and enter into a
Reaftirmation Agreement.

 

 

Cr€dlfOr S [] Surrender the property. m NO
name:

,\…t…,, ,_ ,… ………… ., ,,W n Retain the property and redeem it' n Yes
Description of
property
securing debt:

m Retain the property and enter into a
Reafrirmation Agreement.

ij Retain the property and [explain]:

 

 

CredlfOrS n Surrender the property. cl NO
name:
»~M n Retain the property and redeem it. l;.\ Yes
Description of
property

s securing debt:

n Retain the property and enter into a
Reafiinnation Agreement.

n Retain the property and [explain]:

 

Officiai Form 108 Statement of intention for lndividuals Filing Under Chapter 7 page 1

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Debtor 1

Firsl Name

Case number (llknown)
Middle Name Lasl Name

m List Your Unexpired Personal Property Leases

§ For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
till in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet

§

ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

 

 

 

 

§ Describe your unexpired personal property leases , ' Will the lease be assumed'?
Lessor’s name: n NO
. . 0 Yes
Descriptlon of leased
property:
Lessor’s name: n No
vw MW twa a n Yes
Description of leased
property:
Lessor’s name: l;] No
Description of leased n Yes
property:
Lessor’s name: L'_'| No
,….,..t…h.~ Wt,,…\».~…~.tw W.,.,.,W.._\….,_N,V,,~,A,W……… .,…,N.,.…….…_,WM.…,.… …M…t.,"~. /…M_.\/.~..~.,§,,…… . ,,.MW…...A,..,..W,.WW,~.……, n Yes
Description of leased
properly:
Lessor’s name: [;] No
a ,~.. … '..., \ ,, ,, ~…… `….M 1 m . M,..~~ .… , .~. m Yes
Description of leased
property:
Lessor’s name: E| NO
a Yes
Description of leased
property:
Lessor’s name: n No
m Yes

Description of leased
property:

 

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

x§”

Signature of Debtor 1

Officiai Form 108

@%/ZY/Z@/S

MM/ DD / YYYY

/ x

 

Signature of Debtor 2

MM/ DD/ YYYY

Statement of intention for individuals Filing Under Chapter 7 page 2

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF

In rec Case No: (if known)
Chapter cf

 

Debtor(s)
VERlFICATlON OF CREDITOR MATRIX

The above named Debtor(s) hereby verifies that the attached list of creditors is
true and correct to the best of my/their knowledge

Date: OV/Z;/?dg %

Debtor Eric l\/l. Bell

 

Date:

 

Joint Debtor

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American Express Centurion
Account 1009
4315 S. 2700 West

Salt Lake City UT 84184

Three Rivers Federal Credit Union
Account6426

3750 East Dupont Road

Fort Wayne IN 46825

Professional Emergency Physicians
Account991
3640 New Vision Dr. Ste. A

Fort Wayne IN 46805

First Premier Bank
Account 574
3820 N. Louise Ave.

Sioux Falls SD 57117

American Electric Power
Account 284

N Old State Rd 3

Avilla IN 46710

PayPal Credit
Account 6414
9690 Deereco Rd. Suite 110

Timonium MD 21093

National Student Loan Program
Account 861

PO Box 82507

Lincoln NE 68501

Barclays Bank Delaware
Account 6949

100 West St

Wilmington DE 19801

Michigan State University
Account 1819
166 Service Rd.

East Lansing MI 48824

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Midland Credit Management
Account 6617

2365 Northside Drive Suite 300
San Diego CA 92108

Midland Credit Management
Account 2339

2365 Northside Drive Suite 300

San Diego CA 92108

Capital One Bank
Account 8717
PO Box 30285

Salt Lake City UT 84310

Parkview Health
Account 2474
PO Box 5600

Fort Wayne IN 46895

Parkview Health

Account 9254

PO Box 5600

Fort Wayne IN 46895
eBay
Account 7856

2145 Hamilton Ave.

San Jose CA 95125

Frontier
Account 3155

PO Box 740407

Cincinnati OH 45274

Capital One Bank
Account 6325

PO Box 30285

Salt Lake City UT 84310

Navient U.S. Dept. of Education LE
Account 1300

P.O. Box 6935

Wilkes-Barre PA 18773

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Allied International Credit Corp.
Account 7856

6800 Paragon Place

Richmond VA 23230

RGS
Account 6414
1700 Jay Ell Dr Ste 200

Richardson TX 75081

American Coradius International Li§
Account 5414

35A Rust Lane

Boerne TX 78006

Law Office of David W. Edwards, PC
Account 2474

1410 Industrial Park Rd

PariS TN 38242

ARS National Services Inc.
Account 6325
PO Box 469046

Escondido CA 92046

Firstsource Advantage, LLC
Account 8717

205 Bryant Woods South

Amherst NY 14228

Northstar Location Services, LLC
Account 5949

4285 Genesee Street

Cheektowaga NY 14225

ERC
Account 6949
PO Box 23870

Jacksonville FL 32241

First Collection Services
Account 284

10925 Otter Creek E Blvd
Mabelville AR 72103

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Central Credit Services LLC
Account 574

9550 Regency Square Blvd. Suite g

Jacksonville FL 32225

Lloyd & McDaniel, PLC
Account 1006

P.O. BOX 23200

Loisville KY 40223

Bradford Law Office
Account 6426
127 West Berry Street Suite 100

Fort Wayne IN 46802

Stenger & Stenger
Account 8717
2618 East Paris Ave SE

Grand Rapids MI 46805

Internal Revenue Service
Account 1819
Post Office Box 7346

Philadelphia PA 19101

Ruoff Home Mortgage
Account 1939

1700 Magnavox Way Suite 220

Fort Wayne IN 46804

Account

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